                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In re:                                                Chapter 11

HENRY FORD VILLAGE, INC.,                             Case No. 20-51066-MAR

                  Debtor.                             Hon. Mark A. Randon
                                              /

              COVER SHEET FOR MOTION TO APPROVE SALE PROCEDURES

         The debtor has filed a motion for approval of procedures for the sale of assets,

which is attached to this cover sheet. Pursuant to E.D. Mich. L.B.R. 6004-1, the

debtor has identified below, by page and paragraph number, the location in the

proposed order accompanying the motion of each of the following provisions:

                                              Contained
                                                  in                        Location in
                PROVISION                      proposed                   proposed order
                                                order
 (1) Provisions concerning the qualifications X Yes                    Exhibit A to Proposed
 of the bidding parties.                                                 Order (Exhibit 1)
                                                    No                      Pages 4-6
 (2) Provisions concerning the criteria for a                          Exhibit A to Proposed
 qualifying bid and any deadlines for X Yes                              Order (Exhibit 1)
 (i) submitting     such     a   bid,    and                                   Page 6
 (ii) notification of whether the bid made    No
 constitutes a qualifying bid.

 (3) Provisions that require qualified bids to X Yes                   Exhibit A to Proposed
 identify points of variation from the stalking                          Order (Exhibit 1)
 horse bid (including price and other terms).        No                     Pages 4-6




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 (4) Provisions pertaining to the conditions X Yes                     Exhibit A to Proposed
 to the qualified bidders’ obligation to                                 Order (Exhibit 1)
 consummate the purchase (including the            No                       Pages 9-10
 time period within which the purchaser must
 close the transaction).

 (5) Provisions pertaining to the amount X Yes                         Exhibit A to Proposed
 required for a good faith deposit.                                      Order (Exhibit 1)
                                                               No              Page 4
 (6) Provisions that relate to a "Back-Up X Yes                        Exhibit A to Proposed
 Buyer" should the first winning bidder fail                             Order (Exhibit 1)
 to close the transaction within a specified    No                            Page 10
 period of time.

 (7) No-shop or No-Solicitation provisions      Yes
 including the justification for such                                     Page ___, ¶ ___
 provision.                                X No

 (8) Provisions relating to Break-Up fees, X Yes                       Exhibit A to Proposed
 Topping       fees,     and/or   Expense                                Order (Exhibit 1)
 Reimbursement (including the waiver of          No                         Pages 2-3
 such fees due to rebidding).

 (9) Provisions            specifying   the   bidding X Yes            Exhibit A to Proposed
 increments.                                                             Order (Exhibit 1)
                                                               No           Pages 7-8
 (10) Provisions    relating  to     auction X Yes                     Exhibit A to Proposed
 procedures including manner in which                                    Order (Exhibit 1)
 auction is to be conducted and when the           No                       Pages 6-10
 auction will be open and when it will close.

 (11) Provisions relating to whether the X Yes                         Exhibit A to Proposed
 auction will occur and the termination of the                           Order (Exhibit 1)
 auction process and/or sale.                  No                           Pages 6-10
 (12) Provision whether 14 day stay of      Yes
 F.R.Bankr.P. 6004(h)   and 6006(d) is                                    Page ___, ¶ ___
 waived.                               X No

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 (13) Provisions regarding timing for notice, X Yes                    Exhibit A to Proposed
 submission of bids, objections to sale and                              Order (Exhibit 1)
 other key events.                                  No                      Pages 1-2


 Dated: December 2, 2020                            Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

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                                                       COUNSEL FOR DEBTOR
                                                       AND DEBTOR-IN-POSSESSION




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________/

  DEBTOR’S MOTION FOR ENTRY OF (I) AN ORDER (A) APPROVING
 BIDDING PROCEDURES AND PROTECTIONS IN CONNECTION WITH
   THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS,
  (B) APPROVING THE FORM AND MANNER OF NOTICE THEREOF,
(C) SCHEDULING AN AUCTION AND SALE HEARING, (D) APPROVING
     PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
   CONTRACTS, AND (E) GRANTING RELATED RELIEF; AND (II) AN
    ORDER (A) APPROVING THE ASSET PURCHASE AGREEMENT
       BETWEEN THE DEBTOR AND THE SUCCESSFUL BIDDER,
   (B) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE
       DEBTOR’S ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
      ENCUMBRANCES, AND INTERESTS, (C) AUTHORIZING THE
        ASSUMPTION AND ASSIGNMENT OF CONTRACTS, AND
                 (D) GRANTING RELATED RELIEF

        Henry Ford Village, Inc. (“HFV” or the “Debtor”), hereby moves (this

“Motion”) for entry of (i) an order approving the bid procedures, substantially in the

form of Exhibit 1 attached hereto (the “Bid Procedures Order”), including

(a) approving the proposed auction and bid procedures, attached as Exhibit A thereto

(the “Bid Procedures”)1 for the proposed sale of substantially all the Debtor’s assets



1
  Capitalized terms used but not otherwise defined herein shall have the meaning
ascribed to them in the Bid Procedures and/or the Bid Procedures Order, as

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(the “Sale”), (b) scheduling an auction (the “Auction”) if the Debtor receives two or

more Qualified Bids (as defined below), (c) scheduling a hearing to consider

approval of the Sale (the “Sale Hearing”), (d) approving the form and manner of

notice thereof, and (e) establishing procedures (the “Assumption Procedures”) for

the assumption and assignment of executory contracts and unexpired leases

(collectively, the “Contracts”), including notice of proposed cure amounts; and,

(ii) an order approving the sale of substantially all of the Debtor’s assets (the “Sale

Order”), including (w) approving the transaction documents between the Debtor and

the Successful Bidder (as defined below), (x) authorizing the Sale (after the Auction,

if necessary) to the Successful Bidder or the Backup Bidder, if applicable, free and

clear of liens, claims, interests, and encumbrances, (y) authorizing the assumption

and assignment of the Contracts, and (z) granting related relief, pursuant to sections

105(a), 363, 364, 365, and 503 of title 11 of the United States Code (the “Bankruptcy

Code”), and Rules 2002, 6004, 6006, 9006, 9007, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”). In support of the Motion, the

Debtor relies upon the Declaration of Chief Restructuring Officer in Support of the

Debtor’s Chapter 11 Petition and First Day Pleadings (the “First Day Declaration”)




applicable. Intentionally, some of the capitalized terms are repeat definitions in
multiple locations throughout these interrelated documents.


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(ECF No. 21) previously filed with the Court. In further support of the Motion, the

Debtor respectfully represents as follows:

                                  JURISDICTION AND VENUE
         1.        This Court has jurisdiction to consider this Motion under 28 U.S.C. §§

157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

         2.        Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

         3.        The statutory predicates for the relief requested herein are Bankruptcy

Code sections 105(a), 363, 364, 365, and 503 and Bankruptcy Rules 2002, 6004,

6006, 9006, 9007, and 9014.

                                        BACKGROUND

         4.        On October 28, 2020 (the “Petition Date”), the Debtor commenced this

case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code

(the “Chapter 11 Case”).

         5.        The factual background regarding the Debtor, including business

operations, capital and debt structure, and the events leading to the filing of the

Chapter 11 Case is set forth in the First Day Declaration (ECF No. 21) and

incorporated herein by reference.

         6.        The Debtor continues to operate and manage its business as a debtor in

possession pursuant to Bankruptcy Code sections 1107 and 1108.




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         7.        The Committee of Unsecured Creditors (the “Committee”) was

appointed by the Office of the United States Trustee for the Eastern District of

Michigan in this Chapter 11 Case on November 3, 2020. See ECF No. 50.

         8.        The Debtor is a not for profit,2 non-stock corporation established to

operate a continuing care retirement community located at 15101 Ford Road,

Dearborn, Michigan 48126. The Debtor provides senior living services comprised

of 853 independent living units, 96 assisted living unites and 89 skilled nursing beds

(the “Facility”). The Debtor is governed by an independent Board of Directors and

is advised by a Resident Council elected by the residents of the Debtor.3

         9.        The Debtor believes that it has sufficient cash collateral to continue

operations during a potential sale process over the next thirteen weeks, but requires

additional liquidity to complete a full sale process and has approached the Bond

Trustee with respect to advancing additional liquidity sufficient to meet the Bid

Procedures timeline outlined herein.               Unfortunately, the Debtor did not have

sufficient time to conduct a prepetition sale and marketing process to select a stalking


2
  According to HFV’s Articles of Incorporation, the corporation is organized to:
promote the health of the elderly through the ownership and or operation of one or
more residential communities offering various levels of care services for elderly
persons; carry on educational activities related to the promotion of health of the
residential community; promote and carry on scientific research related to the
promotion of health of the residential community; perform other activities permitted
by nonprofit corporations under the laws of the State of Michigan.
3
  The Board of Directors is an active volunteer board predominantly comprised of
current residents and family members of current or former residents.

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horse bidder and then market the stalking horse bid pursuant to court-approved bid

procedures. Accordingly, the Debtor seeks to run a marketing process in this

Chapter 11 Case to find a strategic or financial acquirer or sponsor.

         10.       On November 9, 2020, the Debtor filed an application to employ and

retain RBC Capital Markets, LLC (“RBC”) (ECF No. 65)4 as its investment banker,

in order to, among other things, assist the Debtor in marketing and sale process for

substantially all of the Debtor’s assets (the “Assets”).

                                       RELIEF REQUESTED

         11.       By this Motion, the Debtor seeks entry of the Bid Procedures Order,

substantially in the form attached hereto as Exhibit 1:

                   (a)       authorizing and approving the Bid Procedures, in substantially
                             the form attached to the Bid Procedures Order as Exhibit A, in
                             connection with the Sale of substantially all of the Debtor’s
                             Assets;

                   (b)       authorizing the Debtor to grant the bid protections set forth in the
                             Bid Procedures (the “Bid Protections”) to a Stalking Horse
                             Bidder and expense reimbursements to one or more Potential
                             Purchasers as well as the Stalking Horse Bidder;
                   (c)       approving the form and manner of notice, in substantially the
                             form attached hereto as Exhibit 6A (the “Sale Notice”), of the
                             Auction and Sale Hearing for the Sale;

                   (d)       scheduling the Auction and Sale Hearing;



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  The Debtor plans to file an amended application to employ RBC that includes
additional information and disclosures requested by the Office of the United States
Trustee for the Eastern District of Michigan.


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                   (e)       approving the Assumption Procedures for the Contracts in
                             connection with the Sale; and
                   (f)       granting related relief.

         12.       The Debtor and its professionals will market the Assets prior to the

Auction in the manner set forth in the Bid Procedures Order. During this marketing

process, the Debtor reserves the right, subject to the terms of the Bid Procedures, to

enter into a stalking horse agreement (the “Stalking Horse Agreement”) with a

bidder if the Debtor believes that such an agreement will further the purposes of the

Auction by, among other things, attracting value-maximizing bids. The Debtor will

make a determination regarding whether to enter into a Stalking Horse Agreement

by March 26, 2021. As described in detail below, by this Motion Debtor seeks

approval for the ability to provide Stalking Horse Bid Protections to the Stalking

Horse Bidder and expense reimbursement to the Stalking Horse Bidder or other

potential bidders up to an Aggregate Expense Reimbursement Cap all as defined and

described below.

         13.       Furthermore, the Debtor will seek entry of the Sale Order at the Sale

Hearing:

                   (a)       authorizing and approving the Sale of all or substantially all of
                             the Assets to the Successful Bidder (as defined in the Bid
                             Procedures) on the terms substantially set forth in the Successful
                             Bid;

                   (b)       authorizing and approving the Sale of all or substantially all of
                             the Assets free and clear of liens, claims, encumbrances, and
                             other interests, all in accordance with the Successful Bid;

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                   (c)       authorizing the assumption and assignment of the Contracts; and

                   (d)       granting any related relief.5
As part of the proposed sale process, the Debtor and RBC will engage in a robust

marketing effort for the Debtor’s Assets, contacting both financial and strategic

investors regarding a potential sale process. The Debtor, in consultation with RBC,

has developed a list of parties who the Debtor believes may be interested in

consummating a Sale, which list includes both strategic and financial parties (each,

individually, a “Contact Party”, and collectively, the “Contact Parties”). RBC has

or will contact each Contact Party to explore its interest in acquiring the Assets. The

Debtor may supplement the list of Contact Parties throughout the marketing process.

The Debtor shall distribute to, or make available in the data room for, each Contact

Party an “Information Package” that is comprised of: (i) a cover letter; (ii) a copy of

these Bid Procedures; and (iii) copy of a confidentiality agreement (the

“Confidentiality Agreement”). To participate in the Bidding Process and to receive

access to any confidential materials relating to the Assets (the “Diligence

Materials”), each Contact Party must submit to the Debtor, through RBC, an

executed Confidentiality Agreement, signed and transmitted by the person or entity


5
  The Debtor reserves the right to file and serve any supplemental pleading or
declaration that the Debtor deems appropriate or necessary in its reasonable business
judgment, including any pleading summarizing the competitive bid and sale process
and the results thereof, in support of its request for entry of the Sale Order before the
Sale Hearing.


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wishing to have access to the Diligence Materials. Each Contact Party who qualifies

for access to the Diligence Materials shall be a “Preliminary Potential Purchaser.”

All Diligence Material requests must be directed to RBC. Except as specifically

noted in the paragraph immediately below, the same access and information will be

made available to all Preliminary Potential Purchasers.                For any Preliminary

Potential Purchaser who is a competitor of the Debtor or is affiliated with any

competitor of the Debtor, the Debtor reserves the right to withhold certain Diligence

Materials if the Debtor reasonably believes, in consultation with the Consultation

Parties, that (a) such disclosure would be detrimental to the interests of the Debtor

or (b) the Preliminary Potential Purchaser does not have the capacity to consummate

a Bid.

                                        The Proposed Sale

         14.       The Debtor believes a prompt sale of the Assets represents the best

option available for all stakeholders in the Chapter 11 Case. Moreover, it is critical

for the Debtor to execute on a sale transaction within the constraints of the Debtor’s

liquidity. Specifically, the Debtor has agreed to comply with certain pre-sale

milestones in exchange for consent to use cash collateral pursuant to the First Day

Emergency Motion of Debtor for Entry of Interim and Final Orders (I) Authorizing

the Use of Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the

Automatic Stay, (IV) Setting a Final Hearing, and Granting Related Relief (the



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“Cash Collateral Motion,” ECF No. 13) and the Interim Order (I) Authorizing the

Debtor to Use Cash Collateral; (II) Granting Adequate Protection; (III) Scheduling

a Final Hearing; and (IV) Granting Related Relief (ECF No. 40) and the final order

(ECF No. 92) entered in relation thereto (collectively, the “Cash Collateral Order”).

It is also anticipated that in order to effectuate a sale on the timeframe proposed by

the Debtor, the Debtor will likely require debtor in possession financing that will

incorporate the process and deadlines set forth herein.

         15.       By this Motion, the Debtor requests that the Court approve the

following timeline which may be subject to further revision pursuant to the terms of

the Bid Procedures:

                   (a)       January 25, 2021: Deadline to submit a letter of interest (a
                             “LOI”).

                   (b)       March 26, 2021: Not later than such date, the Debtor, with the
                             consent of the Bond Trustee and after consulting with the
                             Committee, may select a potential purchaser’s Bid to be
                             designated as the stalking horse bid (the “Stalking Horse Bid”
                             and such potential purchaser, the “Stalking Horse Bidder”)
                             which, subject to the terms of the Bid Procedures Order, may be
                             entitled to the Stalking Horse Bid Protections. The Debtor
                             reserves the right, with the consent of the Bond Trustee and after
                             consultation with the Committee, to provide expense
                             reimbursement to potential purchasers, inclusive of any Stalking
                             Horse Bidder, in an aggregate amount not to exceed $400,000
                             (the “Aggregate Expense Reimbursement Cap”).

                   (c)       Within Two (2) Business Day after Designation of Stalking
                             Horse Bid, if any: Deadline for the Debtor to file and serve the
                             Notice of Stalking Horse, if any, to All Parties in Interest.



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                   (d)       Deadline to file objections to the Cure and Possible Assumption
                             and Assignment Notice: 14 days from notice of cure amounts.
                   (e)       April 30, 2021: Bid Deadline.

                   (f)       May 4, 2021: Auction date.

                   (g)       Within Two (2) Business Days after Conclusion of Auction:
                             Deadline for the Debtor to file a notice regarding the results of
                             the Auction, including the selection of the Successful Bidder and
                             the Backup Bidder, and the basic terms of their respective
                             agreements (the “Notice of Successful Bidder and Backup
                             Bidder”).

                   (h)       May 21, 2021 at 4:00 p.m. Eastern time: Deadline to serve
                             objections to the Sale.
                   (i)       May 24, 2021 at 10:00 a.m. Eastern time: Sale Hearing.

         16.       The Debtor believes that this timeline maximizes the prospect of

accomplishing a sale of the Debtor’s assets. The Debtor believes that the timeline

for consummating the sale process established pursuant to the Bid Procedures is in

the best interest of its estate and all parties in interest and should be approved.

                                     The Bid Procedures Order
I.       The Bid Procedures

         17.       To optimally and expeditiously solicit, receive, and evaluate bids in a

fair and accessible manner, the Debtor has developed and proposed the Bid

Procedures, attached as Exhibit A to the Bid Procedures Order. The Bid Procedures

were designed to permit an expedited sale process, to promote participation and

active bidding, and to ensure that the Debtor receives the highest or otherwise best

offer for the Assets.

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         18.       The Bid Procedures describe, among other things, the requirements for

prospective purchasers to participate in the bid process, the availability and conduct

of due diligence, the deadline for submitting a competing bid, the method and factors

for determining Qualified Bids, and the criteria for selecting a Successful Bidder.

         19.       The following summary describes the salient points of the Bid

Procedures, which are subject to further revision pursuant to the stated terms of the

Bid Procedures:

                   (a)       The Debtor, in consultation with RBC, has developed a list of
                             parties who the Debtor believes may be interested in
                             consummating a Sale, which list includes both strategic and
                             financial parties (each, individually, a “Contact Party”, and
                             collectively, the “Contact Parties”). RBC has or will contact
                             each Contact Party to explore its interest in acquiring the Assets.
                             The Debtor may supplement the list of Contact Parties
                             throughout the marketing process.

                   (b)       The Debtor shall distribute to, or make available in the data room
                             for, each Contact Party an “Information Package” that is
                             comprised of:
                             (i)     a cover letter;

                             (ii)    a copy of the Bid Procedures; and
                             (iii)   a copy of a confidentiality agreement (the “Confidentiality
                                     Agreement”).

                   (c)       To participate in the Bidding Process and to receive access to any
                             confidential materials relating to the Assets (the “Diligence
                             Materials”), each Contact Party must submit to the Debtor,
                             through RBC, an executed Confidentiality Agreement, signed
                             and transmitted by the person or entity wishing to have access to
                             the Diligence Materials. Each Contact Party who qualifies for
                             access to the Diligence Materials shall be a “Preliminary


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                             Potential Purchaser.” All Diligence Material requests must be
                             directed to RBC. Except as specifically noted in the paragraph
                             immediately below, the same access and information will be
                             made available to all Preliminary Potential Purchasers.

                   (d)       For any Preliminary Potential Purchaser who is a competitor of
                             the Debtor or is affiliated with any competitor of the Debtor, the
                             Debtor reserves the right to withhold certain Diligence Materials
                             if the Debtor reasonably believes, in consultation with the
                             Consultation Parties, that (a) such disclosure would be
                             detrimental to the interests of the Debtor or (b) the Preliminary
                             Potential Purchaser does not have the capacity to consummate a
                             Bid.
                   (e)       Stalking Horse Bid Protections: Subject to the terms of the Bid
                             Procedures Order and the Stalking Horse Bidder executing a
                             definitive asset purchase agreement (the “Stalking Horse
                             Agreement”), as a component of the Stalking Horse Agreement,
                             the Debtor, with the consent of the Bond Trustee, may provide a
                             break-up fee of up to 3% of the cash purchase price and an
                             expense reimbursement which combined with the Expense
                             Reimbursement for other Preliminary Potential Purchasers shall
                             not exceed the Aggregate Expense Reimbursement Cap, payable
                             from the proceeds of a closing of a Sale with an alternative
                             purchaser in accordance with these Bid Procedures (collectively,
                             the “Stalking Horse Bid Protections”).
                   (f)       It shall be in the Debtor’s discretion, with the consent of the Bond
                             Trustee and after consulting with the Committee, as to whether
                             to enter into a Stalking Horse Agreement or to conduct an
                             Auction without a Stalking Horse Bidder. In the event that the
                             Debtor enters into a Stalking Horse Agreement, the Debtor shall
                             file with the Bankruptcy Court, within two (2) business days after
                             execution of such Stalking Horse Agreement, a copy of the
                             Stalking Horse Agreement, and serve (i) all parties that have
                             requested notice in this Bankruptcy Case as of the date of the Bid
                             Procedures Order; (ii) all persons identified by the Debtor’s
                             professionals as potential purchasers of the Assets who have
                             been or who are expected to be active in the marketing process;
                             (iii) all Contract Counterparties; (iv) the Bond Trustee; (v) all
                             other creditors of the Debtor; (vi) the Committee; (vii) the

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                             Centers For Medicare & Medicaid Services legal department;
                             (viii) each other governmental agency that is an interested party
                             with respect to the Sale; and (ix) the Office of the United States
                             Trustee (collectively, “All Parties in Interest”) with a notice (the
                             “Notice of Stalking Horse”) that includes: (a) the identity of the
                             Stalking Horse Bidder; (b) the purchase price to be paid by the
                             Stalking Horse Bidder; (c) the deposit paid by the Stalking Horse
                             Bidder; (d) the amount and nature of the Stalking Horse Bid
                             Protections; (e) the anticipated treatment of prepetition entrance
                             fee refund obligations; (f) the anticipated management of the
                             facility and (g) the anticipated treatment of Contracts including
                             Contracts of all persons that are or were residents on the Petition
                             Date (the “Resident Agreements”).

                   (g)       To be eligible to participate in the Auction, each initial Bid, and
                             each party other than the Stalking Horse Bidder submitting such
                             a Bid (each, a “Bidder”), must be determined by the Debtor, in
                             consultation with the Consultation Parties, to satisfy each of the
                             following conditions and, if so met, such Bid shall constitute a
                             “Qualified Bid,” and such Bidder shall constitute a “Qualified
                             Bidder”:

                             (i)     Minimum Bid if Stalking Horse Bidder Designated: Each
                                     initial Bid must be in an amount that exceeds by $250,000
                                     a combination of (a) the purchase price agreed to by the
                                     Stalking Horse Bidder; plus (b) the Stalking Horse Bid
                                     Protections.
                             (ii)    Good Faith Deposit: Each initial Bid must be accompanied
                                     by a deposit in an amount of ten percent (10%) of the
                                     Bidder’s proposed cash purchase price to an interest
                                     bearing escrow account to be identified and established by
                                     or on behalf of the Debtor (the “Good Faith Deposit”).

                             (iii)   Terms of Bid: Each Bid must include:

                                     i.    Transaction Documents. All executed transaction
                                           documents pursuant to which the Bidder proposes
                                           to effectuate the Sale, including (a) an executed
                                           asset purchase agreement (the “Bidder APA”), in
                                           word and pdf formats, and a version of such Bidder


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                                         APA marked against (1) the Stalking Horse
                                         Agreement, if any, or (2) the Form APA, if no
                                         Stalking Horse Agreement exists; (b) related
                                         agreements and disclosures; and (c) a copy of the
                                         draft Sale Order marked to reflect the amendments
                                         and modifications compared to the form of draft
                                         Sale Order posted in the Debtor’s data room
                                         (collectively, the “Transaction Documents”). Each
                                         Bid may provide for either a for-profit or not-for-
                                         profit entity as the owner and/or operator of the
                                         Debtor’s facilities.

                                  ii.    Going Concern Information. The Bidder APA shall
                                         also (a) identify any Contract Counterparty
                                         agreements that the Bidder wishes to have assumed
                                         and assigned to it pursuant to the Sale; (b) provide
                                         detail regarding the treatment of prepetition
                                         entrance fee refund obligations; (c) provide detail
                                         regarding the treatment of Resident Agreements;
                                         (d) provide detail regarding the post-purchase
                                         operation and management of the Assets; and
                                         (e) provide information pertinent to the ability to
                                         obtain regulatory approvals to purchase and operate
                                         the Assets.

                                  iii.   Corporate Authority. Each Bid must disclose the
                                         identity of each entity that will be bidding or
                                         otherwise participating in connection with such Bid,
                                         and the complete terms of any such participation,
                                         and provide written evidence, reasonably
                                         acceptable to the Debtor, demonstrating appropriate
                                         corporate authorization to consummate the Sale.

                                  iv.    Proof of Financial Ability to Perform. Each Bid
                                         must include written evidence sufficient for the
                                         Debtor to reasonably conclude, after consultation
                                         with the Consultation Parties, that the Bidder has or
                                         will have the necessary financial ability to
                                         consummate the Sale and provide adequate
                                         assurance of future performance under all Contract
                                         Counterparty agreements to be assumed and

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                                         assigned in accordance therewith. Such information
                                         should include, inter alia, the following:
                                               1)       contact names and numbers for
                                                        verification of financing sources;

                                               2)       evidence of the Bidder’s internal
                                                        resources and proof of any outside
                                                        funding sources that are needed to
                                                        close the Sale; and

                                               3)       the Bidder’s current financial
                                                        statements and any such other form,
                                                        financial disclosure or credit-quality
                                                        support information or enhancement
                                                        reasonably acceptable to the Debtor
                                                        demonstrating that such Bidder has or
                                                        will have the ability to close the Sale.

                                  v.     Contingencies. Each Bid must include a statement
                                         that there are no conditions precedent to the
                                         Bidder’s ability to close the Sale, including that
                                         there are no due diligence or financing
                                         contingencies to the Bid, and that all necessary
                                         internal and shareholder approvals have been
                                         obtained prior to the Bid; each Bid may be subject
                                         to the satisfaction of the conditions precedent to the
                                         Sale, as set forth in the Bidder APA.
                                  vi.    Irrevocable. Each Bid must be irrevocable through
                                         the entry of the Sale Order; provided, however, that
                                         a Bid accepted as the Successful Bid or the Backup
                                         Bid shall remain irrevocable as set forth below,
                                         subject to the terms and conditions of the Bid
                                         Procedures.
                                  vii.   Bid Deadline: Regardless of when a party qualifies
                                         as a Preliminary Potential Purchaser, the Debtor
                                         must receive each Bid, in writing, on or before April
                                         30, 2021, or such later date as may be agreed to by
                                         the Debtor (the “Bid Deadline”). Each Bid must be


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                                          sent by the Bid Deadline to each of the following by
                                          email: (a) counsel for the Debtor, Dykema Gossett
                                          PLLC, Sheryl Toby, stoby@dykema.com and
                                          Danielle N. Rushing, drushing@dykema.com; (b)
                                          RBC, David Fields, david.fields@rbccm.com; (c)
                                          counsel for the Bond Trustee: Mintz Levin, Daniel
                                          Bleck, dsbleck@mintz.com and Eric Blythe,
                                          ERBlythe@mintz.com; and (d) counsel for the
                                          Committee: Perkins Coie LLP, Eric Walker,
                                          EWalker@perkinscoie.com. and Kathleen Allare,
                                          KAllare@perkinscoie.com        (collectively,    the
                                          “Notice Parties”).
                                  viii.   Credit Bid: The Bond Trustee reserves its right to
                                          submit a credit bid for the Assets and is a Qualified
                                          Bidder, enabling it to participate at the Auction. If
                                          no Qualified Bids are received by the Bid Deadline
                                          (other than a Stalking Horse Bid), the Bond
                                          Trustee’s deadline to submit a credit bid shall be
                                          two (2) business days prior to the date of the
                                          Auction. If at least one Qualified Bid is received by
                                          the Bid Deadline (other than the Stalking Horse
                                          Bid), the Bond Trustee’s deadline to submit a credit
                                          bid shall be the close of the Auction. For the
                                          avoidance of doubt, the Bond Trustee shall not be
                                          required to post a Good Faith Deposit.
         20.       Importantly, the Bid Procedures recognize the Debtor’s goals of not

impairing the Debtor’s ability to consider all Qualified Bids. Additionally, with

some limitations of consent by the Debtor’s secured creditor, the Bid Procedures

preserve the Debtor’s right to modify the Bid Procedures as necessary or appropriate.

II.      The Auction and Sale.

         21.       If any Bid (other than the Stalking Horse Bid) received by the Bid

Deadline is determined to be a Qualified Bid, the Debtor will conduct the Auction


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to determine the highest or best Qualified Bid. This determination shall take into

account any factors the Debtor, upon consultation with the Consultation Parties,

reasonably deems relevant to the value of the Qualified Bid to the estate. The

Stalking Horse Bidder, if any, and Qualified Bidders will be notified no later than

twenty-four (24) hours prior to the Auction, if any Qualified Bids have been

received. If no other Qualified Bid is received and the Bond Trustee has not

provided notice of its intent to exercise its credit bid rights, the Debtor will not hold

an Auction and the Stalking Horse Bidder will be named the Successful Bidder. The

Auction, if necessary, shall take place virtually on May 4, 2021. Unless otherwise

agreed to by the Debtor, only Qualified Bidders, members of the Committee, the

Bond Trustee, representatives of holders of the Bonds, and each of their respective

legal or financial professionals are eligible to attend or participate at the Auction.

The Auction shall be recorded, transcribed or videotaped, and shall be conducted

according to the following procedures, which may be modified by the Debtor in

consultation with the Consultation Parties.

III. Summary of the Assumption Procedures for Contracts other than
     Resident Contracts.

         22.       After entry of the Bidding Procedures Order, the Debtor will file with

the Bankruptcy Court and serve a notice to the Debtor’s contract counterparties other

than residents (as of the Debtor’s Petition Date) party to a Resident Agreement (each,

a “Non-Resident Contract Counterparty”), setting forth the Debtor’s calculation of


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each Non-Resident Contract Counterparty’s cure amount, if any, that would be

owing to such Non-Resident Contract Counterparty if the Debtor decided to assume

or assume and assign such executory contract or unexpired lease, and alerting such

Non-Resident Contract Counterparty that its agreement may be assumed and

assigned to the Successful Bidder (the “Cure and Possible Assumption and

Assignment Notice”), a copy of which is attached hereto as Exhibit 6B.6 Any Non-

Resident Contract Counterparty that objects to the cure amount set forth in the Cure

and Possible Assumption and Assignment Notice, must file an objection (a “Cure

Objection”) within 14 days of such notice, which Cure Objection must be served on

the Notice Parties.

         23.       If a Non-Resident Contract Counterparty does not timely file and serve

a Cure Objection, that party will be forever barred from objecting to the Debtor’s

proposed cure amount. Where a Non-Resident Contract Counterparty files a timely

Cure Objection asserting a higher cure amount than the amount listed in the Cure

and Possible Assumption and Assignment Notice, or an objection to the possible

assignment of that Non-Resident Contract Counterparty’s agreement, and the Non-

Resident Contract Counterparty and the Debtor are unable to consensually resolve

the dispute, the amount to be paid under Bankruptcy Code section 365 (if any) or, as

6
  For the avoidance of doubt, “Non-Resident Contract Counterparty” shall not
include any resident, former resident, or other party asserting claims arising under
the Resident Agreements.


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the case may be, the Debtor’s ability to assign the agreement to the Successful

Bidder, will be determined at the Sale Hearing.

         24.       After the conclusion of the Auction, the Debtor shall file with the Court

and serve on the Non-Resident Contract Counterparties a further notice substantially

in the form attached hereto as Exhibit 6C (the “Assumption Notice”) identifying the

Successful Bidder, stating which Contracts may be assumed and assigned to the

Successful Bidder, and providing such Non-Resident Contract Counterparties with

the Successful Bidder’s assurance of future performance.                 Any Non-Resident

Contract Counterparty that objects to the adequacy of the assurance or assumption

and/or assignment of its Contract set forth in the Assumption Notice must file an

objection with the Bankruptcy Court (a “Contract Objection”) and serve the Contract

Objection on the Notice Parties prior to the Sale Hearing. If a Non-Resident Contract

Counterparty does not file a Contract Objection prior to the Sale Hearing, such party

will be forever barred from objecting to the adequacy of the assurance or assumption

and/or assignment of its Contract to be provided by the Successful Bidder. Where a

Non-Resident Contract Counterparty files a Contract Objection prior to the Sale

Hearing, and the parties are unable to consensually resolve the dispute, the adequacy

of the assurance provided by the Successful Bidder will be determined at the Sale

Hearing.




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         25.       Because the Bid Procedures Order sets forth the Assumption

Procedures in detail, they are not restated here. Generally, however, the Assumption

Procedures: (a) outline the process by which the Debtor will serve notice to all Non-

Resident Contract Counterparties regarding the proposed assumption and

assignment and related cure amounts, if any, informing such parties of their right,

and the procedures, to object; and (b) establish objection and other relevant

deadlines and the manner for resolving disputes relating to the assumption and

assignment of the Contracts to the extent necessary.

IV. Resident Contracts

         26.       The Notice of Successful Bidder and Backup Bidder shall provide

detail regarding the treatment of the Resident Contractswith respect to the Successful

Bidder and Backup Bidder. Resident Contract holders that do not object to the

assumption and assignment of their Contracts by the deadline to object to the Sale

are subject to having their Contracts assumed and assigned.

V.       Return of Good Faith Deposits

         27.       The Good Faith Deposits of all Qualified Bidders shall be held in one

or more interest-bearing escrow accounts by the Debtor, but shall not become

property of the Debtor’s estate absent further order of the Court. The Good Faith

Deposits of any Qualified Bidder that is neither the Successful Bidder nor the

Backup Bidder shall be returned to such Qualified Bidder not later than two (2)



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business days after entry of the Sale Order. The Good Faith Deposit of the Backup

Bidder shall be returned to the Backup Bidder on the date that is the earlier of one

(1) business day after the closing of the Sale with the Successful Bidder, and the

Outside Backup Date, unless such Backup Bidder is determined to become the

Successful Bidder. Upon the return of the Good Faith Deposits, their respective

owners shall receive any and all interest that will have accrued thereon. If the

Successful Bidder or the Backup Bidder timely closes the Sale, its Good Faith

Deposit shall be credited towards its purchase price.

                                      BASIS FOR RELIEF

VI. The Relief Sought in the Bid Procedures Order Is in the Best Interests of
    the Debtor’s Estate and Should Be Approved.

         A.        The Proposed Notice of the Bid Procedures and the Sale Process Is
                   Appropriate.
         28.       The Debtor seeks to sell the Assets through an Auction and asset sale.

The Debtor and its advisors will conduct an extensive marketing process. The

Debtor, with the help of RBC and the Consultation Parties, will developed a list of

“Contact Parties” that will be targeted to receive a copy of the “Information

Package” (both as defined in the Bid Procedures). The list of Contact Parties will

encompass those parties whom the Debtor believes may potentially be interested in

pursuing a Sale and whom the Debtor reasonably believes may have the financial

resources to consummate such a transaction and otherwise meet Debtors goals.



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         29.       Under Bankruptcy Rule 2002(a) and (c), the Debtor is required to notify

creditors of the proposed sale of the Assets, including a disclosure of the time and

place of any auction, the terms and conditions of a sale, and the deadline for filing

any objections. The Debtor respectfully submits that the Sale Notice is reasonably

calculated to provide all interested parties with timely and proper notice of the

proposed Sale, including: (a) the date, time, and place of the Auction (if one will be

held); (b) the Bid Procedures; (c) the deadline for filing objections to the Sale and

entry of the Sale Order, and the date, time, and place of the Sale Hearing; (d) a

reasonably specific identification of the Assets; (e) a description of the Sale as being

free and clear of liens, claims, interests, and other encumbrances, with all such liens,

claims, interests, and other encumbrances attaching with the same validity and

priority to the Sale proceeds; and (f) notice of the proposed assumption and

assignment of the Contracts to the Successful Bidder.

         30.       The Debtor further submits that notice of this Motion and the related

hearing to consider entry of the Bid Procedures Order, coupled with service of the

Sale Notice, the Cure and Possible Assumption and Assignment Notice, and the

Assumption Notice, as provided for herein, constitutes good and adequate notice of

the Sale and the proceedings with respect thereto in compliance with, and

satisfaction of, the applicable requirements of Bankruptcy Rule 2002. The Debtor

further submits that the proposed notice procedures are designed to maximize the



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chance of obtaining the broadest possible participation in the Debtor’s marketing

process, while minimizing costs to the estate. Accordingly, the Debtor respectfully

requests that the Court find that the proposed notice procedures set forth in this

Motion are sufficient, and that no other or further notice of the Bid Procedures,

Auction, Sale, or Sale Hearing is required.

         B.        The Bid Procedures Are Appropriate and Will Maximize Value.

         31.       Bidding procedures should be approved when they provide a benefit to

the debtor’s estate by maximizing the value of the debtor’s assets. See In re

Edwards, 228 B.R. 552, 361 (Bankr. E.D. Pa. 1998) (“The purpose of procedural

bidding orders is to facilitate an open and fair public sale designed to maximize value

for the estate.”); see also In re Bidermann Indus. U.S.A., Inc., 203 B.R. 547, 551

(Bankr. S.D.N.Y. 1997). Courts have made clear that a debtor’s business judgment

is entitled to substantial deference with respect to the procedures to be used in selling

an estate’s assets. See In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (noting

“[u]nder Section 363, the debtor in possession can sell property of the estate . . . if

he has an ‘articulated business justification’”); In re Martin, 91 F.3d 389, 395 (3d

Cir. 1996) (same); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D.

Del. 1999) (same); see also In re Integrated Resources, Inc., 147 B.R. 650, 656–57

(S.D.N.Y. 1992) (noting that bidding procedures that have been negotiated by a

trustee are to be reviewed in accordance with the deferential “business judgment”



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standard, under which such procedures and arrangements are “presumptively

valid”).

         32.       Generally, a paramount goal in proposed sales of property of the estate

is to maximize the proceeds received by the estate. See Mushroom Transp. Co., Inc.,

382 F.3d 325, 339 (3d Cir. 2004); Official Comm. of Unsecured Creditors of

Cybergenics, Corp. v. Chinery, 330 F.3d 548, 573 (3d Cir. 2003); see also In re Food

Barn Stores, Inc., 101 F.3d 558, 564–65 (8th Cir. 1997) (in bankruptcy sales, “a

primary objective of the Code [is] to enhance the value of the estate at hand”);

Integrated Resources, 147 B.R. at 659 (“[I]t is a well-established principle of

bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with

respect to such sales is to obtain the highest price or greatest overall benefit possible

for the estate.”); Edwards, 228 B.R. at 561.

         33.       To that end, courts uniformly recognize that procedures intended to

enhance competitive bidding are consistent with the goal of maximizing the value

received by the estate and therefore appropriate in the context of bankruptcy

transactions. See In re O’Brien Envtl. Energy, Inc., 181 F.3d 527, 537 (3d Cir.

1999); Integrated Resources, 147 B.R. at 659 (stating that bidding procedures “are

important tools to encourage bidding and to maximize the value of the Debtors’

assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156 (Bankr. S.D.N.Y. 1991)

(providing “court-imposed rules for the disposition of assets . . . [should] provide an



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adequate basis for comparison of offers, and [should] provide for a fair and efficient

resolution of bankrupt estates”).

         34.       The Debtor believes that the Bid Procedures will establish the

parameters under which the value of the Sale may be tested at the Auction. The Bid

Procedures will increase the likelihood that the Debtor will receive the best

consideration because they will ensure a competitive and fair bidding process.

         35.       The Debtor believes that the proposed Bid Procedures will promote

active bidding from seriously interested parties and will elicit the highest or

otherwise best offers available for the Assets. The proposed Bid Procedures will

enable the Debtor to conduct the Sale in a controlled, fair, and open fashion that will

encourage participation by financially capable bidders capable of operating a facility

like the one at issue here and who will offer the best package for the Assets and who

can demonstrate the ability to close the transaction.

         36.       Specifically, the Bid Procedures contemplate an auction process with

minimum barriers to entry and provide potential bidding parties with sufficient time

to perform due diligence and acquire the information necessary to submit a timely

and well-informed Bid. At the same time, the Bid Procedures provide the Debtor

with a robust opportunity to consider competing Bids and select the highest or

otherwise best offer for the completion of the Sale.




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         37.       Indeed here, the Debtor after consultation with the Consultation Parties

and their professionals, including multiple investment bankers, has developed a

procedure for incentivizing multiple parties to submit proposed purchase agreements

thereby further fostering a competitive bidding environment.

         38.       Additionally, if the Debtor selects a Stalking Horse Bid, the Debtor’s

entry into the Stalking Horse Agreement with the Stalking Horse Bidder will ensure

that the Debtor obtains fair market value for the Assets by setting a minimum

purchase price that will be tested in the marketplace. As such, creditors of the

Debtor’s estate can be assured that the consideration obtained will be fair and

reasonable and at or above the market value.

         39.       The Bid Protections and associated expense reimbursements, if any,

contained within the Bid Procedures will also assist the Debtor in fostering a

competitive bidding environment. The Bid Protections and expense reimbursements

are an essential part of the Bid Procedures because the Bid Protections and expense

reimbursements enable the Debtor to negotiate efficiently and effectively with

prospective bidders and incentivize the same to move forward with proposing an

asset purchase agreement. The prospect of Bid Protections should also encourage

parties to serve as the Stalking Horse by providing reimbursement for expenditures

during the due diligence process. In turn, the Stalking Horse sets the minimum price

and provides a basis for comparison to potential bidders.                 Bankruptcy courts



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consistently and regularly recognize the benefits of bid protections as an important

tool for obtaining a stalking horse, which in turn ensures that the debtor’s estate is

paid, at a minimum, the reasonable value of the assets. See, e.g., In re Friendship

Village of Mill Creek, d/b/a Greenfields of Geneva, No. 17-12470 (Bankr. N.D. Ill.

May 19, 2017) (Order Approving (A) Bidding Procedures and Overbid Protections;

and (B) Approving the Form and Manner of Notice) (ECF No. 66). The proposed

Stalking Horse Bid Protections are comparable to the terms of other bid protections

routinely approved by bankruptcy courts. E.g., id.

         40.       Bid Protections such as those included in any contemplated bid

procedures are “an incentive payment to a prospective purchaser with which a

company fails to consummate a transaction.” In re S.N.A. Nut Co., 186 B.R. 98, 101

(Bankr. N.D. Ill. 1995). “Agreements to provide breakup fees or reimbursement of

fees and expenses are meant to compensate the potential acquirer who serves as a

catalyst or ‘stalking horse’ which attracts more favorable offers.”’ Id.; see also In

re 995 Fifth Ave. Assocs., L.P., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1992) (stating

bidding incentives may “be legitimately necessary to convince a white knight to

enter the bidding by providing some form of compensation for the risks it is

undertaking”).

         41.       The Debtor submits that the proposed Bid Procedures will encourage

competitive bidding, are appropriate under the relevant standards governing auction



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proceedings and bidding incentives in bankruptcy proceedings, and are consistent

with other procedures previously approved by courts in similar circumstances. See,

e.g., In re Friendship Village of Mill Creek, d/b/a Greenfields of Geneva, No. 17-

12470 (Bankr. N.D. Ill. May 9, 2017) (ECF No. 66); In re The Clare at Water Tower,

No. 11-46151 (Bankr. N.D. Ill. Dec. 7, 2011).

         42.       Thus, the Bid Procedures are reasonable, appropriate and within the

Debtor’s sound business judgment under the circumstances because the Bid

Procedures are designed to maximize the value to be received by the Debtor’s estate.

         C.        The Proposed Notice Procedures for the Assigned Contracts and the
                   Identification of Related Cure Amounts Are Appropriate.

         43.       As set forth above, the Sale contemplates the potential assumption and

assignment of the Contracts to the Successful Bidder arising from the Auction, if

any. In connection with this process, the Debtor believes it is necessary to establish

a process by which: (a) the Debtor and the Contract Counterparties can reconcile

cure obligations, if any, in accordance with Bankruptcy Code sections 105(a) and

365; and (b) such counterparties can object to the potential Assumption Procedures.

         44.       The Bid Procedures specify the process by which the Debtor will serve

Cure and Possible Assumption and Assignment Notice and the procedures and

deadline for Non-Resident Contract Counterparties to Contracts that are subject to

being assumed and/or assigned by the Successful Bidder (the “Assigned Contracts”)

to file and serve Cure Objections.


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         45.       Except as may otherwise be agreed to in the Successful Bid or by the

parties to an Assigned Contract, at the closing of the Sale, the Successful Bidder

shall cure those defaults under the Assigned Contracts that need to be cured in

accordance with Bankruptcy Code section 365(b) by (a) payment of the undisputed

cure amount (the “Cure Amount”) and/or (b) reserving amounts with respect to any

disputed cure amounts.

         46.       As set forth in the Bid Procedures Order, the Debtor also requests that

any party that fails to object to the proposed assumption and assignment of any

Contract be deemed to consent to the assumption and assignment of the applicable

Contract pursuant to Bankruptcy Code section 365 on the terms set forth in the Sale

Order, along with the cure amount(s) identified in the Cure and Possible Assumption

and Assignment Notice. See, e.g., In re Tabone, Inc., 175 B.R. 855, 858 (Bankr.

D.N.J. 1994) (holding that by not objecting to the [m]otion, a creditor is deemed to

consent); Pelican Homestead v. Wooten (In re Gabel), 61 B.R. 661, 667 (Bankr.

W.D. La. 1985) (same).

         47.       The Debtor believes that the assumption procedures are fair and

reasonable, provide sufficient notice to the Contract Counterparties of the potential

assumption and assignment of their Contracts, and provide certainty to all parties in

interest regarding their obligations and rights with respect thereof. Accordingly, the




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Debtor requests that the Court approve the assumption procedures set forth in the

Bid Procedures Order.

VII. Approval of the Proposed Sale Is Appropriate and in the Best Interests
     of the Estate.

         A.        The Asset Sale Should Be Authorized Pursuant to Bankruptcy Code
                   Section 363 as a Sound Exercise of the Debtor’s Business Judgment.

         48.       Bankruptcy Code section 363(b)(1) provides that a debtor, “after notice

and a hearing, may use, sell or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1). A sale of the debtor’s assets should

be authorized pursuant to Bankruptcy Code section 363 if a sound business purpose

exists for the proposed transaction. See, e.g., Meyers v. Martin (In re Martin), 91

F.3d 389, 395 (3d Cir. 1996) (“Under Section 363, the debtor-in-possession can sell

property of the estate . . . if he has an ‘articulated business justification’ . . . .”); In

re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (Bankr. D. Del. 1999); In

re Del. & Hudson Ry. Co., 124 B.R. 169, 174 (Bankr. D. Del. 1991); see also In re

Schipper, 933 F.2d at 515 (same); Comm. of Equity Sec. Holders v. Lionel Corp. (In

re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); In re Telesphere Commc’ns,

Inc., 179 B.R. 544, 552 (Bankr. N.D. Ill. 1999). A sound business purpose for the

sale of a debtor’s assets outside the ordinary course of business may be found where

such a sale is necessary to preserve the value of assets for the estate, its creditors, or




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interest holders. See, e.g., In re Abbotts Dairies of Pa, Inc., 788 F.2d 143 (3d Cir.

1986.

         49.       Courts typically consider the following factors in determining whether

a proposed sale satisfies this standard: (a) whether a sound business justification

exists for the sale; (b) whether adequate and reasonable notice of the sale was given

to interested parties; (c) whether the sale will produce a fair and reasonable price for

the property; and (d) whether the parties have acted in good faith. See Del.& Hudson

Ry., 124 B.R. at 176; In re Phoenix Steel Corp., 82 B.R. 334, 335–36 (Bankr. D.

Del. 1987).

         50.       “Where the debtor articulates a reasonable basis for its business

decisions (as distinct from a decision made arbitrarily or capriciously), courts will

generally not entertain objections to the debtor’s conduct.” Comm. of Asbestos-

Related Litigants and/or Creditors v. Johns-Manville Corp. (In re Johns-Manville

Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). There is a presumption that “in

making a business decision the directors of a corporation acted on an informed basis,

in good faith and in the honest belief that the action was in the best interests of the

company.” In re Integrated Res., 147 B.R. at 656 (internal citation omitted); see

also In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill. 1995) (“The business

judgment rule ‘is a presumption that in making the business decision the directors of

a corporation acted on an informed basis, in good faith, and in the honest belief that



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the action was in the best interests of the company.”); In re Filene’s Basement, LLC,

No. 11-13511 (KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (“If

a valid business justification exists, then a strong presumption follows that the

agreement at issue was negotiated in good faith and is in the best interests of the

estate.”). Thus, if a debtor’s actions satisfy the business judgment rule, then the

transaction in question should be approved under Bankruptcy Code section

363(b)(1). Indeed, when applying the business judgment standard, courts show great

deference to a debtor’s business decisions. See Pitt v. First Wellington Canyon

Assocs. (In re First Wellington Canyon Assocs.), No. 89 C 593, 1989 WL 106838,

at *3 (N.D. Ill. Sept. 8, 1989) (“Under this test, the debtor’s business judgment . . .

must be accorded deference unless shown that the bankrupt’s decision was taken in

bad faith or in gross abuse of the bankrupt’s retained discretion.”).

         51.       As set forth above, the Debtor has a sound business justification for

selling the Assets. First, the Debtor believes that the Sale will maximize the Assets’

value. The sale process developed here is designed to attract purchasers with

knowledge and capability to own and operate the Debtor’s regulated facility.

Moreover, to the extent that the Successful Bidder assumes certain of the Contracts,

it will result in payment in full for a number of the Debtor’s creditors.

         52.       Second, the sale of the Assets will be subject to competing bids,

enhancing the Debtor’s ability to receive the highest or otherwise best value for the



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Assets. The value of the Assets will be tested through the Auction conducted

pursuant to and according to the Bid Procedures. Ultimately, the Successful Bid,

after being subject to a “market check” in the form of the Auction and accepted by

the Debtor in the exercise of its reasonable business judgment, will constitute the

highest or otherwise best offer for the Assets. See, e.g., In re Trans World Airlines,

Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. Apr. 2, 2001) (stating

while a “section 363(b) sale transaction does not require an auction procedure . . .

the auction procedure has developed over the years as an effective means for

producing an arm’s-length fair value transaction”). Consequently, the fairness and

reasonableness of the consideration to be paid by the Successful Bidder ultimately

will be demonstrated by adequate “market exposure” and an open and fair auction

process—the best means for establishing whether a fair and reasonable price is being

paid.

         53.       Thus, the Debtor submits that the Successful Bidder’s purchase

agreement will constitute the highest or otherwise best offer for the Assets and will

provide a greater recovery for the Debtor’s estate than would be provided by any

other available alternative. As such, the Debtor’s determination to sell the Assets

through an Auction process and subsequently to enter into the purchase agreement

with the Successful Bidder will be a valid and sound exercise of the Debtor’s

business judgment. The Debtor will submit evidence at the Sale Hearing to support



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these conclusions. Therefore, the Debtor requests that the Court make a finding that

the proposed sale of the Assets is a proper exercise of the Debtor’s business

judgment and is rightly authorized.

         B.        Adequate and Reasonable Notice of the Sale Will Be Provided.
         54.       As described above, the Sale Notice: (a) will be served in a manner that

provides at least 21-days’ notice of the date, time, and location of the Sale Hearing;

(b) informs parties in interest of the deadlines for objecting to the Sale or the

assumption and assignment of the Contracts; and (c) otherwise includes, in

combination with the Notice of Successful Bidder and Backup Bidder, all

information relevant to parties interested in or affected by the Sale. Significantly,

the form and manner of the Sale Notice will have been approved by this Court

pursuant to the Bid Procedures Order, after notice and a hearing, before it is served

on parties in interest.

         C.        The Sale and Purchase Price Will Reflect a Fair-Value Transaction.

         55.       Where there is a court-approved auction process, a full and fair price is

presumed to have been obtained for the assets sold, as the best way to determine

value is exposure to the market. See Bank of Am. Nat’l Tr. & Sav. Ass’n v. 203 N.

LaSalle St. P’ship, 526 U.S. 434, 457 (1999). The Debtor will continue to market

the Assets and solicit offers consistent with the Bid Procedures, including, without

limitation, by providing acceptable Bidders with access to due diligence and



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requested information. In this way, the number of Bidders that are eligible to

participate in the competitive Auction process will be maximized. On the other

hand, if the Debtor enters into a Stalking Horse Agreement and no Auction is held

because no Auction is necessary, the Stalking Horse Agreement’s purchase price

conclusively will have been demonstrated to be fair value.

         D.        The Sale of the Assets Should Be Free and Clear of Interests
                   Pursuant to Bankruptcy Code Section 363(f).
         56.       The Debtor submits that it is appropriate to sell the Assets free and clear

of all liens, claims, encumbrances, and interests (collectively, the “Claims and

Interests”) pursuant to Bankruptcy Code section 363(f), with any such Claims and

Interests attaching to the net sale proceeds of the Assets, as and to the extent

applicable.7

         57.       Section 363(f) permits a debtor to sell property free and clear of another

party’s interest in the property if (a) applicable non-bankruptcy law permits such a

free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and

the sale price of the property exceeds the value of all liens on the property; (d) the

interest is the subject of a bona fide dispute; or (e) the holder of the interest could be

compelled in a legal or equitable proceeding to accept a monetary satisfaction of its

interest. See 11 U.S.C. § 363(f).


7
 As set forth above, the Resident Agreements will be addressed as detailed in the
Notice of Successful Bidder and Backup Bidder.


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         58.       Section 363(f) is drafted in the disjunctive. Thus, satisfaction of any of

the requirements enumerated therein will suffice to permit the Debtor’s sale of the

Assets free and clear of all Claims and Interests (i.e., all liens, claims, rights,

interests, charges, or encumbrances), except with respect to any interests that may

be assumed liabilities under the applicable purchase agreement. See In re Kellstrom

Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002) (“[I]f any of five conditions

are met, the Debtors have the authority to conduct the sale free and clear of all

liens.”); see also In re Dundee Equity Corp., 1992 Bankr. LEXIS 436, at *12 (Bankr.

S.D.N.Y. Mar. 6, 1992) (noting that “[s]ection 363(f) is in the disjunctive, such that

the sale free of the interest concerned may occur if any one of the conditions of

§ 363(f) have been met”); Citcorp Homeowners Servs., Inc. v. Eliot (In re Eliot), 94

B.R. 343, 345 (E.D. Pa. 1988) (same); Mich. Emp’t Sec. Comm’n v. Wolverine Radio

Co. (In re Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating

that section 363(f) of the Bankruptcy Code is written in the disjunctive; holding that

the court may approve the sale “free and clear” provided that at least one of the

subsections of section 363(f) has been satisfied).

         59.       The Debtor submits that the Assets may be sold free and clear of Claims

and Interests—all in accordance with at least one of the five conditions of

Bankruptcy Code section 363(f).                Consistent with Bankruptcy Code section

363(f)(2), each of the parties holding liens on the Assets, if any, will consent, or



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absent any objection to this Motion, will be deemed to have consented to, the Sale

and transfer of the Assets. Furthermore, any party holding a valid lien against the

Assets will be adequately protected by having its liens, if any, attach to the sale

proceeds received by the Debtor from the Sale of the Assets to the Successful Bidder,

in the same order of priority, with the same validity, force and effect that such

creditor had prior to such sale, subject to any claims and defenses the Debtor and its

estate may possess. Accordingly, Bankruptcy Code section 363(f) authorizes the

sale and transfer of the Assets free and clear of any such Interests.

         E.        The Assets and the Assigned Contracts Should Be Sold Free and
                   Clear of Successor Liability.

         60.       The Sale Order will provide that the Successful Bidder shall not have

any successor liability related to Seller or the Assets to the maximum extent

permitted by law. Extensive case law establishes that claims against a winning

bidder may be directed to the proceeds of a free and clear sale of property, and may

not subsequently be asserted against that buyer.

         61.       Although Bankruptcy Code section 363(f) provides for the sale of

assets “free and clear of any interests,” the term “any interest” is not defined

anywhere in the Bankruptcy Code. Folger Adam Security v. DeMatteis/MacGregor

JV, 209 F.3d 252, 257 (3d Cir. 2000). In the case of In re Trans World Airlines, Inc.,

322 F.3d 283, 288–89 (3d Cir. 2003), the Third Circuit specifically addressed the

scope of the term “any interest.” The Third Circuit observed that while some courts


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have “narrowly interpreted that phrase to mean only in rem interests in property,”

the trend in modern cases is towards “a more expansive reading of ‘interests in

property’ which ‘encompasses other obligations that may flow from ownership of

the property.’” Id. at 289. As determined by the Fourth Circuit in In re Leckie

Smokeless Coal Co., 99 F.3d 573, 581–82 (4th Cir. 1996), a case cited approvingly

and extensively by the Third Circuit in Folger, the scope of Bankruptcy Code section

363(f) is not limited to in rem interests. Thus, the Third Circuit in Folger cited

Leckie for the proposition that the debtors “could sell their assets under § 363(f) free

and clear of successor liability that otherwise would have arisen under federal

statute.” Folger, 209 F.3d at 258.

         62.       Courts have consistently held that a buyer of a debtor’s assets pursuant

to a section 363 sale takes free from successor liability resulting from pre-existing

claims. See In re Ormet, 2014 WL 3542133 at *4 (Bankr. D. Del. July 17, 2014);

The Ninth Ave. Remedial Grp. v. Allis-Chalmers Corp., 195 B.R. 716, 732 (Bankr.

N.D. Ind. 1996) (stating that a bankruptcy court has the power to sell assets free and

clear of any interest that could be brought against the bankruptcy estate during the

bankruptcy); MacArthur Co. v. Johns-Manville Corp. (In re Johns-Manville Corp.),

837 F.2d 89, 93–94 (2d Cir. 1988) (channeling of claims to proceeds consistent with

intent of sale free and clear under section 363(f) of the Bankruptcy Code); In re New

England Fish Co., 19 B.R. 323, 329 (Bankr. W.D. Wash. 1982) (finding transfer of



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property in free and clear sale was free and clear of Title VII employment

discrimination and civil rights claims of Debtors’ employees); In re Hoffman, 53

B.R. 874, 876 (Bankr. D.R.I. 1985) (finding transfer of liquor license free and clear

of any interest permissible even though the estate had unpaid taxes); Am. Living Sys.

v. Bonapfel (In re All Am. of Ashburn, Inc.), 56 B.R. 186, 190 (Bankr. N.D. Ga.

1986) (holding product liability claims precluded from being asserted against his

successor in a sale of assets free and clear); WBQ P’ship v. Va. Dept. of Med.

Assistance Servs. (In re WBQ P’ship), 189 B.R. 97, 104–05 (Bankr E D. Va. 1995)

(stating Commonwealth of Virginia’s right to recapture depreciation was an

“interest” as used in section 363(f)).

         63.       The purpose and value of an order authorizing the transfer of the Assets

would be frustrated if claimants thereafter could use the transfer as a basis to assert

claims against the Successful Bidder. Under Bankruptcy Code section 363(f), the

Successful Bidder is entitled to know that the Assets are not tainted by latent claims

that could be asserted against the Successful Bidder after the proposed transaction is

completed.           Absent that ruling, the value of the Assets could be severely

compromised.

         64.       Accordingly, there is substantial authority for any order approving the

Sale of the Assets to include a finding that the Successful Bidder is not liable as a




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successor under any theory of successor liability, for Claims and Interests that

encumber or relate to the Assets.

         F.        The Sale Has Been Proposed in Good Faith and Without Collusion,
                   the Successful Bidder Will Be a “Good-Faith Purchaser” Entitled to
                   the Full Protection of Bankruptcy Code Section 363(m), and the Sale
                   of the Assets Does Not Violate Bankruptcy Code Section 363(n).

         65.       The Debtor requests that the Court find that the Successful Bidder is

entitled to the benefits and protections provided by Bankruptcy Code section 363(m)

in connection with the sale of the Assets.

         66.       Section 363(m) provides, in pertinent part:

                   [t]he reversal or modification on appeal of an
                   authorization under subsection (b) or (c) of this section of
                   a sale or lease of property does not affect the validity of a
                   sale or lease under such authorization to an entity that
                   purchased or leased such property in good faith, whether
                   or not such entity knew of the pendency of the appeal,
                   unless such authorization and such sale or lease were
                   stayed pending appeal.
11 U.S.C. § 363(m).
         67.       Section 363(m) thus protects the purchaser of assets sold pursuant to

section 363 from the risk that it will lose its interest in the purchased assets if the

order allowing the sale is reversed on appeal, as long as such purchaser purchased

the assets in “good faith.” While the Bankruptcy Code does not define “good faith,”

courts have held that a purchaser shows its good faith through the integrity of its

conduct during the course of the sale proceedings, finding that, where there is a lack

of such integrity, a good-faith finding may not be made. See, e.g., Abbotts Dairies

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of Pa., 788 F.2d at 147 (“Typically, the misconduct that would destroy a [buyer’s]

good faith status at a judicial sale involves fraud, collusion between the [proposed

buyer] and other bidders or the trustee, or an attempt to take grossly unfair advantage

of other bidders.”).

         68.       The Debtor submits that the Stalking Horse Bidder, if any, or any other

Successful Bidder arising from the Auction would be a “good faith purchaser” within

the meaning of Bankruptcy Code section 363(m), and the resulting purchase

agreement would be a good-faith agreement on arm’s-length terms entitled to the

protections of section 363(m).8 First, as set forth in more detail above, the

consideration to be received by the Debtor pursuant to the Sale will be subject to a

market process by virtue of the Debtor’s marketing efforts, with the assistance of its

professionals, and the Auction will be substantial, fair, and reasonable. Second, the

purchase agreement entered into by the Debtor and the Successful Bidder will be the

result of extensive arm’s-length negotiations, during which all parties will have the

opportunity to be, and the Debtor will be, represented by competent counsel, and

8
 The Debtor believes that a finding of good faith within the meaning of Bankruptcy
Code section 363(m) will be appropriate for any Successful Bidder arising from the
Auction, if any, and the Bid Procedures. Pursuant to the Bid Procedures, any
Successful Bidder will have had to present a proposal in accordance with the Bid
Procedures. In addition, the Debtor will not choose as the Successful Bidder or the
Backup Bidder (as defined in the Bid Procedures) any entity whose good faith under
section 363(m) can reasonably be doubted and will be prepared to present the Court
with sufficient evidence to allow the Court to find that the “good faith” standard of
section 363(m) has been satisfied.


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any purchase agreement with a Successful Bidder will be the culmination of the

Debtor’s competitive market process and, if necessary, the Auction, in which all

negotiations will be conducted on an arm’s-length, good-faith basis. Third, where—

as the Debtor anticipates will be the case here—there is no indication of any “fraud

or collusion between the purchaser and other bidders or the trustee, or an attempt to

take grossly unfair advantage of other bidders” or similar conduct, there is no cause

that would permit the Sale to be avoided pursuant to Bankruptcy Code section

363(n).        Moreover, with respect to potential Bidders, the Bid Procedures are

designed to ensure that no party is able to exert undue influence over the process.

Finally, the Successful Bidder’s offer will be evaluated and approved by the Debtor

in consultation with its advisors and the Consultation Parties. Accordingly, the

Debtor believes that the Successful Bidder and the resulting purchase agreement

should be entitled to the full protections of Bankruptcy Code section 363(m).

         69.       Moreover, because there will be no fraud or improper insider dealing

of any kind, the Sale will not constitute an avoidable transaction pursuant to

Bankruptcy Code section 363(n), and, as a result, the Successful Bidder should

receive the protections afforded good faith purchasers by Bankruptcy Code section

363(m). Accordingly, the Debtor requests that the Court make a finding at the Sale

Hearing that the agreement reached with the Successful Bidder was at arm’s length




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and is entitled to the full protections of Bankruptcy Code section 363(m). The

Debtor will submit evidence at the Sale Hearing to support these conclusions.

VIII. The Assumption and Assignment of the Contracts Should Be Approved.
         A.        The Assumption and Assignment of the Contracts Reflects the
                   Debtor’s Reasonable Business Judgment.
         70.       To facilitate and effectuate the sale of the Assets, the Debtor is seeking

authority to assign the Assigned Contracts to the Successful Bidder to the extent

required by such Successful Bidder.

         71.       Bankruptcy Code section 365 authorizes a debtor to assume and/or

assign its executory contracts and unexpired leases, subject to the approval of the

court, provided that the defaults under such contracts and leases are cured and

adequate assurance of future performance is provided. See 11 U.S.C. § 365(b)(1).

The standard in determining whether an executory contract or unexpired lease

should be assumed is the “business judgment” test, which requires a debtor to

determine that the requested assumption or rejection would be beneficial to its estate.

See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984) (describing business

judgment test as “traditional”) (superseded in part by 11 U.S.C. § 1113).

         72.       Courts generally will not second-guess a debtor’s business judgment

concerning the assumption of an executory contract. See In re Decora Indus., Inc.,

2002 WL 32332749, at *8 (D. Del. May 20, 2002); Official Comm. for Unsecured

Creditors v. Aust (In re Network Access Solutions, Corp.), 330 B.R. 67, 75 (Bankr.


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D. Del. 2005) (“The standard for approving the assumption of an executory contract

is the business judgment rule”); In re Exide Techs., 340 B.R. 222, 239 (Bankr. D.

Del. 2006) (“The propriety of a decision to reject an executory contract is governed

by the business judgment standard”); see also Phar Mor, Inc. v. Strouss Bldg.

Assocs., 204 B.R. 948, 952 (N.D. Ohio 1997) (“Courts should generally defer to a

Debtors’ decision whether to reject an executory contract.”). A debtor’s decision to

assume or reject an executory contract or unexpired lease will not be subject to

review unless such decision is clearly an unreasonable exercise of such judgment.

See, e.g., Grp. of Institutional Inv’rs v. Chicago, Milwaukee, St. Paul & Pac. Ry.

Co., 318 U.S. 523, 549–50 (1943) (applying Bankruptcy Act section 77(b),

predecessor to section 365, and rejecting a test of whether an executory contract was

burdensome in favor of determining whether rejection is within the debtor’s business

judgment); see also Sharon Steel, 872 F.2d at 40 (describing deference to a debtor’s

business judgment as “breathing space afforded [to] the debtor to consider whether

to reject or assume executory contracts under the Code”); Network Access Sols., 330

B.R. at 75; Exide Techs., 340 B.R. at 239.

         73.       The Court should approve the decision to assume and assign the

Assigned Contracts in connection with the Sale as a sound exercise of the Debtor’s

business judgment. First, the Assigned Contracts are necessary to operate the Assets

and, as such, they are essential to inducing the best offer for the Assets. Second, it



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is unlikely that any purchaser would want to acquire the Assets unless a significant

number of the Contracts needed to manage the day-to-day operations were included

in the transaction. Third, the Assigned Contracts will be assumed and assigned as

part of a process approved by the Court pursuant to the Bid Procedures Order and,

thus, will be reviewed by key constituents in this Chapter 11 Case. Accordingly, the

Debtor submits that the assumption and assignment of the Assigned Contracts, if

required by the Successful Bidder, should be approved as a sound exercise of the

Debtor’s business judgment.

         74.       A debtor-in-possession may assign an executory contract or an

unexpired lease of the debtor if it assumes the agreement in accordance with

Bankruptcy Code section 365(a), and provides adequate assurance of future

performance by the assignee, whether or not there has been a default under the

agreement. See 11 U.S.C. § 365(f)(2). Significantly, among other things, adequate

assurance may be provided by demonstrating the assignee’s financial health and

experience in managing the type of enterprise or property assigned. See, e.g., In re

Bygaph, Inc., 56 B.R. 596, 605–06 (Bankr. S.D.N.Y. 1986) (stating that adequate

assurance of future performance is present when the prospective assignee of a lease

from the debtors has financial resources and has expressed willingness to devote

sufficient funding to the business in order to give it a strong likelihood of

succeeding).



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         75.       The meaning of “adequate assurance of future performance” depends

on the facts and circumstances of each case, but should be given “practical,

pragmatic construction.” EBG Midtown S. Corp. v. McLaren/Hart Envtl. Eng’g

Corp. (In re Sanshoe Worldwide Corp.), 139 B.R. 585, 592 (S.D.N.Y. 1992), aff’d,

993 F.2d 300 (2d Cir. 1993); Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes,

Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1988).

         76.       Contract Counterparties will have the opportunity to request additional

adequate assurance information by responding to the Cure and Possible Assumption

and Assignment Notice. Accordingly, the Debtor submits that the assumption and

assignment of the Assigned Contracts as set forth herein should be approved.

         77.       To assist in the assumption, assignment and sale of the Assigned

Contracts, the Debtor also requests that the Sale Order approving the Sale of the

Assets provide that anti-assignment provisions in the Assigned Contracts shall not

restrict, limit, or prohibit the assumption, assignment and sale of the Assigned

Contracts and are deemed and found to be unenforceable anti-assignment provisions

within the meaning of Bankruptcy Code section 365(f).

         78.       Section 365(f)(1) permits a debtor to assign unexpired leases and

executory contracts free from such anti-assignment restrictions, providing, in

pertinent part, that:

                   [N]otwithstanding a provision in an executory contract or
                   unexpired lease of the debtor, or in applicable law, that

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                   prohibits, restricts, or conditions the assignment of such
                   contract or lease, the trustee may assign such contract or
                   lease under paragraph (2) of this subsection . . . .

11 U.S.C. § 365(f)(1).

         79.       Section 365(f)(1), by operation of law, invalidates provisions that

prohibit, restrict, or condition assignment of an executory contract or unexpired

lease. See, e.g., Coleman Oil Co., Inc. v. The Circle K Corp. (In re The Circle K

Corp.), 127 F. 3d 904, 910–11 (9th Cir. 1997) (providing “no principle of bankruptcy

or contract law precludes us from permitting the Debtors here to extend their leases

in a manner contrary to the leases’ terms, when to do so will effectuate the purposes

of section 365”), cert. denied, 522 U.S. 1148 (1998).

         80.       Other courts have recognized that provisions that have the effect of

restricting assignments cannot be enforced. See In re Rickel Home Ctrs., Inc., 240

B.R. 826, 831 (D. Del. 1998) (“In interpreting Section 365(f) [sic], courts and

commentators alike have construed the terms to not only render unenforceable lease

provisions which prohibit assignment outright, but also lease provisions that are so

restrictive that they constitute de facto anti-assignment provisions.”). Similarly, in

In re Mr. Grocer., Inc., the court noted that:

                   [the] case law interpreting § 365(f)(1) of the Bankruptcy
                   Code establishes that the court does retain some discretion
                   in determining that lease provisions, which are not
                   themselves ipso facto anti-assignment clauses, may still be
                   refused enforcement in a bankruptcy context in which
                   there is no substantial economic detriment to the landlord


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                   shown, and in which enforcement would preclude the
                   bankruptcy estate from realizing the intrinsic value of its
                   assets.

77 B.R. 349, 354 (Bankr. D.N.H. 1987). Thus, the Debtor requests that any anti-

assignment provisions be deemed not to restrict, limit or prohibit the assumption,

assignment and sale of the Assigned Contracts, and be deemed and found to be

unenforceable anti-assignment provisions within the meaning of Bankruptcy Code

section 365(f).

                                     NO PRIOR REQUEST
         81.       No previous request for the relief sought herein has been made to this

Court or any other court.

         WHEREFORE, the Debtor respectfully requests that the Court enter the

proposed order substantially in the form attached hereto as Exhibit 1 granting the

relief requested in the Motion and such other and further relief as may be just and

proper.




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 Dated: December 2, 2020                            Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

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                                                       COUNSEL FOR DEBTOR
                                                       AND DEBTOR-IN-POSSESSION




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                                     INDEX OF EXHIBITS


 Exhibit 1                                          Bidding Procedures Order
 Exhibit 2                                          Notice And Opportunity To Respond
 Exhibit 3                                          N/A
 Exhibit 4                                          Certificate Of Service
 Exhibit 5                                          N/A
 Exhibit 6A                                         Sale Notice
 Exhibit 6B                                         Cure and Possible Assumption and
                                                    Assignment Notice
 Exhibit 6C                                         Assumption Notice




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                                            EXHIBIT 1




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________/

ORDER (A) APPROVING BIDDING PROCEDURES AND PROTECTIONS
IN CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF THE
  DEBTOR’S ASSETS, (B) APPROVING THE FORM AND MANNER OF
   NOTICE THEREOF, (C) SCHEDULING AN AUCTION AND A SALE
 HEARING, (D) APPROVING PROCEDURES FOR THE ASSUMPTION
 AND ASSIGNMENT OF CONTRACTS, AND (E) GRANTING RELATED
                           RELIEF

        Upon the motion (the “Motion”)1 of the above-captioned debtor and debtor-

in-possession (the “Debtor”) for entry of an order (this “Order”) (a) authorizing

and approving the bidding procedures attached hereto as Exhibit A (the “Bid

Procedures”) in connection with the sale of substantially all of the Debtor’s assets

(the “Assets”), (b) approving the form and manner of notice in substantially the form

attached to the Motion as Exhibit 6A (the “Sale Notice”) of an auction (the

“Auction”) and sale hearing (the “Sale Hearing”) with respect to the sale of the

Assets free and clear of liens, claims, encumbrances, and other interests (the “Sale”),


1
  Capitalized terms used but not otherwise defined shall have the meanings ascribed
to them in the Bid Procedures. In the event there is a conflict between this Order
and the Motion, this Order shall control and govern.


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(c) scheduling the Sale Hearing, and (d) approving procedures for the possible

assumption and assignment of certain executory contracts and unexpired leases in

connection with the Sale (collectively, the “Contracts”); and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and

the Motion in this District is proper pursuant to 28 U.S.C. § 1408; and this Court

having found that the relief requested in the Motion is in the best interest of the

Debtor’s estate, its creditors, and other parties in interest; and this Court having

found that notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor,

         THE COURT FINDS THAT:
         A.        The findings and conclusions set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made

applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that



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any of the following findings of fact constitute conclusions of law, they are adopted

as such. To the extent that any of the following conclusions of law constitute

findings of fact, they are adopted as such.

         B.        The Debtor has articulated good and sufficient reasons for this Court to

(a) approve the Bid Procedures; (b) schedule the Auction and Sale Hearing and

approve the manner of notice of the Auction and Sale Hearing; and (c) approve

procedures for the assumption and assignment of the Contracts, including notice of

the proposed cure amounts.

         C.        The Bid Procedures are reasonable and appropriate and represent the

best method for maximizing the value of the Assets for the benefit of the Debtor and

its estate.

         D.        Assumption and Assignment Procedures. The Motion, this Order, and

the assumption and assignment procedures (the “Assignment Procedures”) are

reasonably calculated to provide counterparties to any Contracts to be assumed by

the Debtor and assigned to the Successful Bidder with proper notice of the intended

assumption and assignment of their Contracts, the procedures in connection

therewith, and any cure amounts relating thereto.

         E.        Sale Notice. The Sale Notice is reasonably calculated to provide

interested parties with timely and proper notice of the proposed Sale, including,

without limitation: (a) the date, time, and place of the Auction (if one is held); (b) the



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Bidding Procedures; (c) the deadline for filing objections to the Sale and entry of the

Sale Order, and the date, time, and place of the Sale Hearing; (d) reasonably specific

identification of the Assets to be sold; (e) a description of the Sale as being free and

clear of liens, claims, encumbrances, and other interests (collectively, “Claims and

Interests”), with all such Interests attaching with the same validity and priority to

the Sale proceeds; and (f) notice of the proposed assumption and assignment of

Contracts to the Successful Bidder. No other or further notice of the Sale shall be

required.

         IT IS HEREBY ORDERED THAT:

         1.        The Motion is granted as set forth herein.

         2.        All objections to the relief requested in the Motion with respect to the

Bid Procedures that have not been withdrawn, waived, or settled as announced to

the Court at the Hearing or by stipulation filed with the Court, are overruled.

         3.        The Bid Procedures, substantially in the form attached hereto and

incorporated herein as Exhibit A, are approved in their entirety, and the Bid

Procedures shall govern the submission, receipt, and analysis of all Bids relating to

the proposed sale of the Assets. Any party desiring to bid on the Assets shall comply

with the Bid Procedures and this Order. The Debtor is authorized to take any and

all actions necessary to implement the Bid Procedures.




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I.       The Auction

         4.        As further described in the Bid Procedures, if at least two Qualified

Bids are received by the Bid Deadline, the Debtor will conduct the virtual Auction

on May 4, 2021 or such later date, time, and location as the Debtor shall notify all

Qualified Bidders who have submitted Qualified Bids that are timely received.

         5.        If the Debtor does not receive at least two Qualified Bids or otherwise

determines appropriate: (a) the Debtor may, in consultation with the Consultation

Parties, cancel the Auction; (b) the only Qualified Bid may be deemed by the Debtor

to be the Successful Bid for the Assets; and (c) the Debtor shall be authorized to seek

approval of the Successful Bid at the Sale Hearing.

         6.        If the Debtor receives at least two Qualified Bids, then the Debtor shall

conduct the Auction in accordance with the Bid Procedures.

         7.        The Stalking Horse Bidder, if any, shall have the right (including as

part of any Overbid) to credit bid all or a portion of its Bid Protections (if

any) pursuant to Bankruptcy Code section 363(k).

         8.        In the event of a competing Qualified Bid, all Qualified Bidders will be

entitled, but not obligated, to submit Overbids.

         9.        The Debtor, in consultation with the Consultation Parties, may

(a) determine which Qualified Bid is the highest or otherwise best offer; (b) reject at

any time before the entry of the Sale Order any Bid that, in the discretion of the



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Debtor, is (i) inadequate or insufficient, (ii) not in conformity with the requirements

of the Bankruptcy Code or the Bid Procedures, or (iii) contrary to the best interest

of the Debtor’s estate and its creditors; (c) at or before the conclusion of the Auction

may impose such other terms and conditions upon Qualified Bidders as the Debtor

determines to be in the best interest of the Debtor’s estate; and (d) prior to the entry

of the Sale Order, may re-open the Auction, on notice to all participants, to consider

further Bids, in its reasonable business judgment.

         10.       The ability of the Debtor to provide the Bid Protections and the expense

reimbursements, each pursuant to the terms of the Bid Procedures (inclusive of the

consent of the Bond Trustee), is hereby approved.

         11.       No person or entity, other than as set forth in paragraph 10 herein, shall

be entitled to any expense reimbursement, breakup fee, topping or termination fee,

or other similar fee or payment, and by submitting a Bid, such person or entity is

deemed to have waived its right to request or file with this Court any request for

expense reimbursement or any other fee of any nature in connection with the Auction

and the Sale, whether by virtue of Bankruptcy Code section 503(b) or otherwise.

II.      Assumption and Assignment Notices & Procedures
         12.       After entry of the Bidding Procedures Order, the Debtor will file with

the Bankruptcy Court and serve a notice to the Debtor’s contract counterparties other

than residents (as of the Debtor’s Petition Date) party to a Resident Agreement (each,



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a “Non-Resident Contract Counterparty”), setting forth the Debtor’s calculation

of each Non-Resident Contract Counterparty’s cure amount, if any, that would be

owing to such Non-Resident Contract Counterparty if the Debtor decided to assume

or assume and assign such executory contract or unexpired lease, and alerting such

Non-Resident Contract Counterparty that its agreement may be assumed and

assigned to the Successful Bidder (the “Cure and Possible Assumption and

Assignment Notice”), substantially in the form attached to the Motion as Exhibit

6B.2 Any Non-Resident Contract Counterparty that objects to the cure amount set

forth in the Cure and Possible Assumption and Assignment Notice must file an

objection (a “Cure Objection”) within 14 days of such notice, which Cure

Objection must be served on the Notice Parties.

         13.       The presence of a Contract on the Cure and Possible Assumption and

Assignment Notice does not constitute an admission that such Contract is an

executory contract or unexpired lease, and the presence of a Contract on any notice

shall not prevent the Debtor from subsequently withdrawing such request for

assuming or rejecting such Contract any time before such Contract is actually

assumed and assigned pursuant to the Sale Order.




2
  For the avoidance of doubt, “Non-Resident Contract Counterparty” shall not
include any resident, former resident, or other party asserting claims arising under
the Resident Agreements.


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         14.       If a Non-Resident Contract Counterparty does not timely file and serve

a Cure Objection on the Notice Parties, that party will be forever barred from

objecting to the Debtor’s proposed cure amount. Where a Non-Resident Contract

Counterparty files a timely Cure Objection asserting a higher cure amount than the

amount listed in the Cure and Possible Assumption and Assignment Notice and the

Non-Resident Contract Counterparty and the Debtor are unable to consensually

resolve the dispute, the amount to be paid under Bankruptcy Code section 365 (if

any) or, as the case may be, the Debtor’s ability to assign the agreement to the

Successful Bidder, will be determined at the Sale Hearing.

         15.       After the conclusion of the Auction, the Debtor shall file with the Court

and serve on the Contract Counterparties who are parties to an Assigned Contract a

further notice substantially in the form attached to the Motion as Exhibit 6C (the

“Assumption Notice”) identifying the Successful Bidder, stating which Contracts

may be assumed and assigned to the Successful Bidder, and providing such Contract

Counterparties with the Successful Bidder’s assurance of future performance.

         16.       Any Contract Counterparty that objects to the adequacy of the

assurance or assumption and/or assignment of its Contract set forth in the

Assumption Notice must file an objection (a “Contract Objection”) with the

Bankruptcy Court prior to the Sale Hearing and serve the Contract Objection on the

Notice Parties.



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         17.       If a Contract Counterparty does not file a Contract Objection prior to

the Sale Hearing, such party will be forever barred from objecting to the adequacy

of the assurance to be provided by the Successful Bidder and shall be forever barred

from objecting to the assumption and assignment of its Contract. Where a Contract

Counterparty files a Contract Objection prior to the Sale Hearing, and the parties are

unable to consensually resolve the dispute, the adequacy of the assurance provided

by the Successful Bidder will be determined at the Sale Hearing.

III. Notice of the Sale Process

         18.       The Sale Notice, the Cure and Possible Assumption and Assignment

Notice, and the Assumption Notice, in substantially the forms attached to the Motion

as Exhibit 6A, Exhibit 6B, and Exhibit 6C are approved.

         19.       Within two (2) business days after the entry of this Order, the Debtor

(or its agents) shall serve the Sale Notice by first-class mail and/or email upon:

(a) the U.S. Trustee; (b) counsel to the Bond Trustee; (c) counsel to the Committee;

(d) the Non-Resident Contract Counterparties; (e) all parties who have expressed a

written interest in the Assets; (f) all parties who are known or reasonably believed,

after reasonable inquiry, to have asserted any lien, encumbrance, claim, or interest

in the Assets; (g) all applicable state and local taxing authorities; (h) all the Debtor’s

other creditors; (i) each governmental agency that is an interested party with respect

to the Sale and transactions proposed thereunder; (j) all the Debtor’s residents as of



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the Petition Date; and (k) all parties that have requested or that are required to receive

notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”).

         20.       Within two (2) business days after the conclusion of the Auction, the

Debtor (or its agents) shall serve the Notice of Successful Bidder and Backup Bidder

by first-class mail and/or email upon Notice Parties.

IV. The Sale Hearing

         21.       The Sale Hearing will be conducted on May 24, 2021 at 10:00 a.m.

(prevailing Eastern Time). The Debtor will seek entry of an order of the Court at

the Sale Hearing approving and authorizing the Sale of the Assets to the Successful

Bidder. Upon entry of this Order, the Debtor is authorized to perform any obligation

intended to be performed prior to the Sale Hearing or entry of the Sale Order with

respect thereto. The Sale Hearing may be continued from time to time without

further notice other than such announcement being made in open court or a notice

of adjournment being filed with the Court and served on the Sale Notice Parties.

V.       Objections to the Sale

         22.       Objections, if any, to the relief requested in the Motion relating to the

Sale must be in writing, filed with the Court, and be served so that it is actually

received no later than May 21, 2021 at 4:00 p.m. (prevailing Eastern time).

Objections shall be served on (a) counsel for the Debtor, Dykema Gossett PLLC,

Attn: Sheryl L. Toby, 39577 Woodward Avenue, Suite 300, Bloomfield Hills,



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Michigan              48304,       stoby@dykema.com           and      Danielle       Rushing,

drushing@dykema.com; (b) counsel for the Bond Trustee, Mintz Levin, Attn:

Daniel Bleck, dsbleck@mintz.com and Eric Blythe, erblythe@mintz.com; (c) the

Office of the United States Trustee for the Eastern District of Michigan, Attn: Leslie

Berg, leslie.k.berg@usdoj.gov; and (d) counsel to the Committee (i) Perkins Coie,

Attn:      Eric      E.      Walker,   ewalker@perkinscoie.com      and    Kathleen    Allare,

kallare@perkinscoie.com, and (ii) Howard & Howard, Attn: Lisa S. Gretchko,

lgretchko@howardandhoward.com.

         23.       A party’s failure to timely file and serve an objection in accordance

with this Order shall forever bar the assertion of any objection to the Sale, entry of

the Sale Order, and/or consummation of the Sale with the Successful Bidder

pursuant to the applicable purchase agreement, including, without limitation, the

assumption and assignment of the Contracts to the Successful Bidder pursuant to the

applicable purchase agreement, and shall be deemed to constitute such party’s

consent to entry of the Sale Order and consummation of the Sale and all transactions

related thereto, including, without limitation assumption and assignment of

Contracts.

VI. Other Relief Granted
         24.       Nothing in this Order, the Stalking Horse Agreement (if any), or the

Motion shall be deemed to or constitute the assumption or assignment of a Contract.



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         25.       The terms and conditions of this Order shall be immediately effective

and enforceable upon its entry, notwithstanding any provision in the Bankruptcy

Rules or the Local Rules to the contrary, and the Debtor may, in its discretion and

without further delay, take any action and perform any act authorized by this Order.




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                                           EXHIBIT A




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-mar

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________

                                   BIDDING PROCEDURES

Henry Ford Village, Inc. (the “Debtor”) proposes to conduct an auction (the
“Auction”) for the sale (the “Sale”) of substantially all of its assets and operations
(the “Assets”) and will proceed in accordance with the following bid procedures (the
“Bid Procedures”) which have been approved pursuant to an Order entered by the
United States Bankruptcy Court for the Eastern District of Michigan, Southern
Division (the “Bankruptcy Court”) (the “Bid Procedures Order”) in the Chapter
11 case styled In re Henry Ford Village, Inc., Case No. 20-51066-MAR (the
“Bankruptcy Case”).

The form of asset purchase agreement for the Sale is posted in the Debtor’s on-line
data room (the “Form APA”). As provided for below, the Debtor is soliciting bids
(“Bids”) for the proposed acquisition of the Assets, in accordance with the
procedures below (the “Bidding Process”), which require, among other things, that
potential purchasers submit an executed asset purchase agreement, along with a
marked version evidencing any changes to the Form APA or if applicable, the
Stalking Horse Agreement. The Debtor will consider all Bids which comply with
the terms of these Bidding Procedures.
         Important Dates (All times are prevailing Eastern District Time)1

January 25, 2021: Deadline to submit a letter of interest (a “LOI”).



1
  Note: all dates are subject to change in the Debtor’s discretion after consultation
with the Bond Trustee and Unsecured Creditors’ Committee (the “Committee” and
together with the Bond Trustee, the “Consultation Parties”).


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March 26, 2021: Not later than such date, the Debtor, with the consent of the Bond
Trustee and after consulting with the Committee, may select a potential purchaser’s
Bid to be designated as the stalking horse bid (the “Stalking Horse Bid” and such
potential purchaser, the “Stalking Horse Bidder”) which, subject to the terms of the
Bid Procedures Order, may be entitled to the Stalking Horse Bid Protections. The
Debtor reserves the right, with the consent of the Bond Trustee and after consultation
with the Committee, to provide expense reimbursement to potential purchasers,
inclusive of any Stalking Horse Bidder, in an aggregate amount not to exceed
$400,000 (the “Aggregate Expense Reimbursement Cap”).

Within Two (2) Business Day after Designation of Stalking Horse Bid, if any:
Deadline for the Debtor to file and serve the Notice of Stalking Horse (as defined
below), if any, to All Parties in Interest (as defined below).
Deadline to file objections to the Cure and Possible Assumption and
Assignment Notice (as defined below): 14 days from notice of cure amounts.
April 30, 2021: Bid Deadline (as defined below).

May 4, 2021: Auction date.
Within Two (2) Business Days after Conclusion of Auction: Deadline for the
Debtor to file a notice regarding the results of the Auction, including the selection
of the Successful Bidder and the Backup Bidder (as each are defined below).

May 21, 2021 at 4:00 p.m. Eastern time: Deadline to serve objections to the Sale.
May 24, 2021 at 10:00 a.m. Eastern time: Sale Hearing.

                                          Marketing Process
The Debtor, in consultation with RBC Capital Markets, LLC (“RBC”), has
developed a list of parties who the Debtor believes may be interested in
consummating a Sale, which list includes both strategic and financial parties (each,
individually, a “Contact Party”, and collectively, the “Contact Parties”). RBC has
or will contact each Contact Party to explore its interest in acquiring the Assets. The
Debtor may supplement the list of Contact Parties throughout the marketing process.

The Debtor shall distribute to, or make available in the data room for, each Contact
Party an “Information Package” that is comprised of:

                   •         a cover letter;


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                   •         a copy of these Bid Procedures; and

                   •         a copy of a confidentiality agreement (the “Confidentiality
                             Agreement”).

To participate in the Bidding Process and to receive access to any confidential
materials relating to the Assets (the “Diligence Materials”), each Contact Party
must submit to the Debtor, through RBC, an executed Confidentiality Agreement,
signed and transmitted by the person or entity wishing to have access to the
Diligence Materials. Each Contact Party who qualifies for access to the Diligence
Materials shall be a “Preliminary Potential Purchaser.” All Diligence Material
requests must be directed to RBC. Except as specifically noted in the paragraph
immediately below, the same access and information will be made available to all
Preliminary Potential Purchasers.

For any Preliminary Potential Purchaser who is a competitor of the Debtor or is
affiliated with any competitor of the Debtor, the Debtor reserves the right to withhold
certain Diligence Materials if the Debtor reasonably believes, in consultation with
the Consultation Parties, that (a) such disclosure would be detrimental to the interests
of the Debtor or (b) the Preliminary Potential Purchaser does not have the capacity
to consummate a Bid.

                                           Bid Protections

Stalking Horse Bid Protections: Subject to the terms of the Bid Procedures Order
and the Stalking Horse Bidder executing a definitive asset purchase agreement (the
“Stalking Horse Agreement”), as a component of the Stalking Horse Agreement,
the Debtor, with the consent of the Bond Trustee, may provide a break-up fee of up
to 3% of the cash purchase price and an expense reimbursement which combined
with the Expense Reimbursement for other Preliminary Potential Purchasers shall
not exceed the Aggregate Expense Reimbursement Cap, payable from the proceeds
of a closing of a Sale with an alternative purchaser in accordance with these Bid
Procedures (collectively, the “Stalking Horse Bid Protections”).

                                      Notice of Stalking Horse
It shall be in the Debtor’s discretion, with the consent of the Bond Trustee and after
consulting with the Committee, as to whether to enter into a Stalking Horse
Agreement or to conduct an Auction without a Stalking Horse Bidder. In the event
that the Debtor enters into a Stalking Horse Agreement, the Debtor shall file with
the Bankruptcy Court, within two (2) business days after execution of such Stalking


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Horse Agreement, a copy of the Stalking Horse Agreement, and serve (i) all parties
that have requested notice in this Bankruptcy Case as of the date of the Bid
Procedures Order; (ii) all persons identified by the Debtor’s professionals as
potential purchasers of the Assets who have been or who are expected to be active
in the marketing process; (iii) all Contract Counterparties (as defined below); (iv)
the Bond Trustee; (v) all other creditors of the Debtor; (vi) the Committee; (vii) the
Centers For Medicare & Medicaid Services legal department; (viii) each other
governmental agency that is an interested party with respect to the Sale; and (ix) the
Office of the United States Trustee (collectively, “All Parties in Interest”) with a
notice (the “Notice of Stalking Horse”) that includes: (a) the identity of the Stalking
Horse Bidder; (b) the purchase price to be paid by the Stalking Horse Bidder; (c) the
deposit paid by the Stalking Horse Bidder; (d) the amount and nature of the Stalking
Horse Bid Protections; (e) the anticipated treatment of prepetition entrance fee
refund obligations; (f) the anticipated management of the facility and (g) the
anticipated treatment of contracts of all persons that are or were residents on the
Petition Date (the “Resident Agreements”).
                                     Qualifying Bid Process

To be eligible to participate in the Auction, each initial Bid, and each party other
than the Stalking Horse Bidder submitting such a Bid (each, a “Bidder”), must be
determined by the Debtor, in consultation with the Consultation Parties, to satisfy
each of the following conditions and, if so met, such Bid shall constitute a
“Qualified Bid,” and such Bidder shall constitute a “Qualified Bidder”:

      1.     Minimum Bid if Stalking Horse Bidder Designated: Each initial Bid
must be in an amount that exceeds by $250,000 a combination of (a) the purchase
price agreed to by the Stalking Horse Bidder; plus (b) the Stalking Horse Bid
Protections.

       2.    Good Faith Deposit: Each initial Bid must be accompanied by a deposit
in an amount of ten percent (10%) of the Bidder’s proposed cash purchase price to
an interest bearing escrow account to be identified and established by or on behalf
of the Debtor (the “Good Faith Deposit”).
         3.        Terms of Bid: Each Bid must include:

             •      Transaction Documents. All executed transaction documents
pursuant to which the Bidder proposes to effectuate the Sale, including (a) an
executed asset purchase agreement (the “Bidder APA”), in word and pdf formats,
and a version of such Bidder APA marked against (1) the Stalking Horse Agreement,


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if any, or (2) the Form APA, if no Stalking Horse Agreement exists; (b) related
agreements and disclosures; and (c) a copy of the draft Sale Order marked to reflect
the amendments and modifications compared to the form of draft Sale Order posted
in the Debtor’s data room (collectively the “Transaction Documents”). Each Bid
may provide for either a for-profit or not-for-profit entity as the owner and/or
operator of the Debtor’s facilities.

              •      Going Concern Information. The Bidder APA shall also (a)
identify any Contract Counterparty agreements that the Bidder wishes to have
assumed and assigned to it pursuant to the Sale; (b) provide detail regarding the
treatment of prepetition entrance fee refund obligations; (c) provide detail regarding
the treatment of Resident Agreements; (d) provide detail regarding the post-purchase
operation and management of the Assets; and (e) provide information pertinent to
the ability to obtain regulatory approvals to purchase and operate the Assets.

             •      Corporate Authority. Each Bid must disclose the identity of each
entity that will be bidding or otherwise participating in connection with such Bid,
and the complete terms of any such participation, and provide written evidence,
reasonably acceptable to the Debtor, demonstrating appropriate corporate
authorization to consummate the Sale.

             •     Proof of Financial Ability to Perform. Each Bid must include
written evidence sufficient for the Debtor to reasonably conclude, after consultation
with the Consultation Parties, that the Bidder has or will have the necessary financial
ability to consummate the Sale and provide adequate assurance of future
performance under all Contract Counterparty agreements to be assumed and
assigned in accordance therewith. Such information should include, inter alia, the
following:

                   •         contact names and numbers for verification of financing sources;

                   •         evidence of the Bidder’s internal resources and proof of any
                             outside funding sources that are needed to close the Sale;

                   •         the Bidder’s current financial statements and any such other
                             form, financial disclosure or credit-quality support information
                             or enhancement reasonably acceptable to the Debtor
                             demonstrating that such Bidder has or will have the ability to
                             close the Sale.




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                   •         Contingencies. Each Bid must include a statement that there are
                             no conditions precedent to the Bidder’s ability to close the Sale,
                             including that there are no due diligence or financing
                             contingencies to the Bid, and that all necessary internal and
                             shareholder approvals have been obtained prior to the Bid; each
                             Bid may be subject to the satisfaction of the conditions precedent
                             to the Sale, as set forth in the Bidder APA.
       4.    Irrevocable: Each Bid must be irrevocable through the entry of the Sale
Order; provided, however, that a Bid accepted as the Successful Bid or the Backup
Bid (as each are defined below) shall remain irrevocable as set forth below, subject
to the terms and conditions of the Bid Procedures.

       5.    Bid Deadline: Regardless of when a party qualifies as a Preliminary
Potential Purchaser, the Debtor must receive each Bid, in writing, on or before April
30, 2021, or such later date as may be agreed to by the Debtor (the “Bid Deadline”).
Each Bid must be sent by the Bid Deadline to each of the following by email: (a)
counsel for the Debtor, Dykema Gossett PLLC, Sheryl Toby, stoby@dykema.com
and Danielle Rushing, drushing@dykema.com; (b) RBC, David Fields,
david.fields@rbccm.com; (c) counsel for the Bond Trustee: Mintz Levin, Daniel
Bleck, dsbleck@mintz.com and Eric Blythe, ERBlythe@mintz.com; and (d) counsel
for the Committee: Perkins Coie LLP, Eric Walker, EWalker@perkinscoie.com.
and Kathleen Allare, KAllare@perkinscoie.com (collectively, the “Notice
Parties”).
       6.    Credit Bid: The Bond Trustee reserves its right to submit a credit bid
for the Assets and is a Qualified Bidder, enabling it to participate at the Auction. If
no Qualified Bids are received by the Bid Deadline (other than a Stalking Horse
Bid), the Bond Trustee’s deadline to submit a credit bid shall be two (2) business
days prior to the date of the Auction. If at least one Qualified Bid is received by the
Bid Deadline (other than the Stalking Horse Bid), the Bond Trustee’s deadline to
submit a credit bid shall be the close of the Auction. For the avoidance of doubt, the
Bond Trustee shall not be required to post a Good Faith Deposit.

                                               Auction

If any Bid (other than the Stalking Horse Bid) received by the Bid Deadline is
determined to be a Qualified Bid, the Debtor will conduct the Auction to determine
the highest or best Qualified Bid. This determination shall take into account any
factors the Debtor, upon consultation with the Consultation Parties, reasonably
deems relevant to the value of the Qualified Bid to the estate. The Stalking Horse


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Bidder, if any, and Qualified Bidders will be notified no later than twenty-four (24)
hours prior to the Auction, if any Qualified Bids have been received. If no other
Qualified Bid is received and the Bond Trustee has not provided notice of its intent
to exercise its credit bid rights, the Debtor will not hold an Auction and the Stalking
Horse Bidder will be named the Successful Bidder. The Auction, if necessary, shall
take place virtually on May 4, 2021. Unless otherwise agreed to by the Debtor, only
Qualified Bidders, members of the Committee, the Bond Trustee, representatives of
holders of the Bonds, and each of their respective legal or financial professionals are
eligible to attend or participate at the Auction. The Auction shall be recorded,
transcribed or videotaped, and shall be conducted according to the following
procedures, which may be modified by the Debtor in consultation with the
Consultation Parties:
         The Debtor Shall Conduct the Auction.

The Debtor and its professionals shall direct and preside over the Auction in
consultation with the Consultation Parties in a manner that is consistent with these
Bid Procedures. At the start of the Auction the Debtor shall describe the terms of
the highest or best Qualified Bid(s) (the “Auction Baseline Bid”).

All Bids made thereafter shall be Overbids (as defined below), and shall be made in
a manner determined by the Debtor, in consultation with the Consultation Parties,
and all material terms of each Overbid received shall be disclosed to all Bidders who
have submitted Qualified Bids prior to any subsequent round of bidding. The Debtor
shall maintain a transcript of all Bids made and announced at the Auction, including
the Auction Baseline Bid and all Overbids.

         Terms of Overbids.
An “Overbid” is any Bid made at the Auction subsequent to the Debtor’s
announcement of the Auction Baseline Bid. To submit an Overbid for purposes of
this Auction, a Bidder must comply with the following conditions:
         (1)       Minimum Overbid Increment.

In advance of the Auction and after a review of the Qualified Bids received and in
consideration of any Stalking Horse Bid Protections, the Debtor, in consultation with
the Consultation Parties, shall determine the increments of any Overbid after the
Auction Baseline Bid (the “Minimum Overbid Increment”); provided, that the
Debtor shall retain the right to modify the Minimum Overbid Increment at the



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Auction in consultation with the Consultation Parties. A Stalking Horse Bidder shall
be entitled to credit bid the amount of its Stalking Horse Bid Protections.
         (2)       Remaining Terms are the Same as for Qualified Bids.

Except as modified herein, an Overbid must comply with the conditions for a
Qualified Bid set forth above; provided, however, that the Bid Deadline shall not
apply. Upon the conclusion of the Auction, each Qualified Bidder’s last Bid
accepted by the Debtor, in consultation with the Consultation Parties, shall remain
open and binding on each Qualified Bidder until the entry of the Sale Order.

To the extent not previously provided, a Qualified Bidder submitting an Overbid
must submit, as part of its Overbid, written evidence (in the form of financial
disclosure, credit-quality support information or other enhancement reasonably
acceptable to the Debtor in consultation with the Consultation Parties) demonstrating
such Bidder’s ability to close the Sale.

         (3)       Announcing Overbids.
Each Overbid will be made by the Qualified Bidder in the main virtual auction room
where the Auction proceedings are being transcribed such that all Qualified Bidders
can hear and seek clarification from the Debtor on the terms of such Overbid. As
requested, the Debtor may provide the basis for calculating the total consideration
offered in each Overbid and the resulting benefit to the Debtor’s estate.

         (4)       Consideration of Overbids.
The Debtor reserves the right, in its reasonable business judgment in consultation
with the Consultation Parties, to make one or more adjournments in the Auction to,
among other things: (a) facilitate discussions among the Debtor, the Consultation
Parties, and any Qualified Bidder to consider how they wish to proceed, (b) give
Qualified Bidders the opportunity to provide the Debtor with such additional
evidence as the Debtor in its reasonable business judgment, in consultation with the
Consultation Parties, may require to evaluate that the Qualified Bidder’s financial
ability to consummate the Sale at the prevailing Overbid amount, or (c) address other
reasonable concerns, including technical difficulties.

         No Collusion; Good-Faith Bona Fide Offer.

Each Qualified Bidder participating at the Auction will be required to confirm on
the record at the Auction that (a) it has not engaged in any collusion with respect to
the Sale or Bidding Process (including that it has no agreement with any other Bidder


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or Qualified Bidder to control the price) and (b) its Qualified Bid is a good-faith
bona fide offer and it intends to consummate the Sale if selected as the Successful
Bidder or the Backup Bidder.

         “As Is, Where Is” Sale.

Except as explicitly set forth in the Form APA, any Sale of the Assets will be
transferred on an “as is, where is” basis, with all faults, and without representations
or warranties of any kind, nature or description by the Debtor, its agents or estate,
whether written, verbal, express, implied, or by operation of law.

         Consent to Jurisdiction as Condition to Bidding.

All Qualified Bidders are deemed to have consented to the core jurisdiction of the
Bankruptcy Court and waived any right to a jury trial in connection with any disputes
relating to any Bids, the Bidding Procedures, the Transaction Documents or the
Auction.

         Closing the Auction.
The Auction may be adjourned from time to time by the Debtor after consultation
with the Consultation Parties. Other than reasonable adjournments, the Auction
shall continue until there is only one Qualified Bid that the Debtor determines in its
reasonable business judgment, after consultation with its financial and legal advisors
and the Consultation Parties, is the highest or best Qualified Bid at the Auction (the
“Successful Bid” and the Qualified Bidder submitting such Successful Bid, the
“Successful Bidder”). The Auction shall not close unless and until all Qualified
Bidders who have submitted Qualified Bids and remain active in the Auction by
submitting Overbids as deemed necessary by the Debtor’s Auction procedures
announced at the Auction, have been given a reasonable opportunity to submit an
Overbid at the Auction to the then-existing Overbid. Prior to the conclusion of the
Auction, the Successful Bidder and Backup Bidder have submitted fully executed
Transaction Documents memorializing the terms of the Successful Bid and Backup
Bid and each of the Successful Bidder and the Backup Bidder shall have increased
the amount of its Good Faith Deposit to 10% of the cash purchase price of the
Successful Bid and the Backup Bid, respectively. Within two (2) business days of
selection of the Successful Bidder and the Backup Bidder, the Debtor shall file with
the Bankruptcy Court and serve on each resident, a notice identifying the Successful
Bidder and the Backup Bidder and providing details relating to the Successful Bid
and the Backup Bid, including the purchase price to be paid and the anticipated
treatment of the Resident Agreements.


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Notwithstanding anything in the Bid Procedures to the contrary, if an Auction is
conducted, the party with the next highest or otherwise best Qualified Bid(s) at the
conclusion of the Auction, as determined by the Debtor, in the exercise of its
business judgment in consultation with the Consultation Parties, shall be required to
serve as a backup bidder (the “Backup Bidder”). The Backup Bidder shall be
required to keep its final Qualified Bid or last Overbid at Auction (the “Backup
Bid”) open and irrevocable until the earlier of one (1) business day after the closing
of the Sale with the Successful Bidder, and forty-five (45) days from the entry of the
Sale Order (the “Outside Backup Date”) unless such Backup Bidder is determined
to become the Successful Bidder. Following entry of the Sale Order, if the
Successful Bidder fails to consummate the Sale, the Debtor may designate the
Backup Bidder to be the new Successful Bidder, and the Debtor will be authorized,
but not required, to consummate the Sale with the Backup Bidder without further
order of the Bankruptcy Court. The closing date to consummate the Sale with the
Backup Bidder shall be as soon as reasonably possible after the date that the Debtor
provides notice to the Backup Bidder that the Successful Bidder failed to
consummate the Sale and that the Debtor desires to consummate the transaction with
the Backup Bidder subject to the terms of the Bidder APA executed by the Backup
Bidder (the “Backup Bidder APA”). The Good Faith Deposit of the Backup Bidder
shall be held by the Debtor until the earlier of one (1) business day after the closing
of the Sale with the Successful Bidder, and the Outside Backup Date; provided,
however, that in the event the Successful Bidder does not consummate the Sale as
described above and the Debtor provides notice to the Backup Bidder that it has been
chosen as the replacement Successful Bidder and the Backup Bidder’s Good Faith
Deposit shall be held until the closing of the Sale with the Backup Bidder as set forth
in the Backup Bidder APA.

    Procedures for Determining Cure Amounts and Adequate Assurance for
                   Contract Counterparties to Assigned Contracts

After entry of the Bidding Procedures Order, the Debtor will file with the
Bankruptcy Court and serve a notice to the Debtor’s contract counterparties other
than residents (as of the Debtor’s Petition Date) party to a Resident Agreement (each,
a “Non-Resident Contract Counterparty”), setting forth the Debtor’s calculation
of each Non-Resident Contract Counterparty’s cure amount, if any, that would be
owing to such Non-Resident Contract Counterparty if the Debtor decided to assume
or assume and assign such executory contract or unexpired lease, and alerting such
Non-Resident Contract Counterparty that its agreement may be assumed and
assigned to the Successful Bidder (the “Cure and Possible Assumption and



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Assignment Notice”).2 Any Non-Resident Contract Counterparty that objects to the
cure amount set forth in the Cure and Possible Assumption and Assignment Notice,
must file an objection (a “Cure Objection”) within 14 days of such notice, which
Cure Objection must be served on the Notice Parties.

If a Non-Resident Contract Counterparty does not timely file and serve a Cure
Objection, that party will be forever barred from objecting to the Debtor’s proposed
cure amount. Where a Non-Resident Contract Counterparty files a timely Cure
Objection asserting a higher cure amount than the amount listed in the Cure and
Possible Assumption and Assignment Notice, and the Non-Resident Contract
Counterparty and the Debtor are unable to consensually resolve the dispute, the
amount to be paid under Bankruptcy Code section 365 (if any) or, as the case may
be, the Debtor’s ability to assign the agreement to the Successful Bidder, will be
determined at the Sale Hearing.

After the conclusion of the Auction, the Debtor shall file with the Bankruptcy Court
and serve on the Contract Counterparties a further notice (the “Assumption Notice”)
identifying the Successful Bidder, stating which Contracts may be assumed and
assigned to the Successful Bidder, and providing such Contract Counterparties with
the Successful Bidder’s assurance of future performance.               Any Contract
Counterparty that objects to the adequacy of the assurance or assumption and/or
assignment of its Contract set forth in the Assumption Notice must file an objection
with the Bankruptcy Court (a “Contract Objection”) and serve the Contract
Objection on the Notice Parties prior to the Sale Hearing. If a Contract Counterparty
does not file a Contract Objection prior to the Sale Hearing, such party will be
forever barred from objecting to the adequacy of the assurance to be provided by the
Successful Bidder and assumption and assignment to the Successful Bidder. Where
a Contract Counterparty files a Contract Objection prior to the Sale Hearing, and the
parties are unable to consensually resolve the dispute, the adequacy of the assurance
provided by the Successful Bidder or raised issues regarding the potential
assumption and assignment will be determined at the Sale Hearing.

                                           Sale Hearing

The Bankruptcy Court has scheduled a hearing (the “Sale Hearing”) on May 24,
2021 at 10:00 a.m. (prevailing Eastern Time), at which the Debtor will seek approval
of the Sale to the Successful Bidder and if applicable, the Backup Bidder.
2
  For the avoidance of doubt, “Non-Resident Contract Counterparty” shall not
include any resident, former resident, or other party asserting claims arising under
the Resident Agreements.


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Objections to the Sale of the Assets to the Successful Bidder or Back-Up Bidder
must be filed and served so that they are actually received by the Debtor no later
than 4:00 p.m. (ET) May 21, 2021, on the Notice Parties and the Office of the United
States Trustee for the Eastern District of Michigan, Attn: Leslie Berg,
Leslie.K.Berg@usdoj.gov@usdoj.gov.
                                  Return of Good Faith Deposits

The Good Faith Deposits of all Qualified Bidders shall be held in one or more
interest-bearing escrow accounts by the Debtor, but shall not become property of the
Debtor’s estate absent further order of the Court. The Good Faith Deposits of any
Qualified Bidder that is neither the Successful Bidder nor the Backup Bidder shall
be returned to such Qualified Bidder not later than two (2) business days after entry
of the Sale Order. The Good Faith Deposit of the Backup Bidder shall be returned
to the Backup Bidder on the date that is the earlier of one (1) business day after the
closing of the Sale with the Successful Bidder, and the Outside Backup Date, unless
such Backup Bidder is determined to become the Successful Bidder. Upon the return
of the Good Faith Deposits, their respective owners shall receive any and all interest
that will have accrued thereon. If the Successful Bidder or the Backup Bidder timely
closes the Sale, its Good Faith Deposit shall be credited towards its purchase price.

                                      Reservation of Rights

THE DEBTOR RESERVES ITS RIGHTS TO MODIFY THESE BIDDING
PROCEDURES IN ANY MANNER, IN CONSULTATION WITH
CONSULTATION PARTIES (OTHER THAN WITH RESPECT TO CONSENT
AND CREDIT BID RIGHTS FOR THE BOND TRUSTEE AS SET FORTH
ABOVE FOR WHICH ITEMS THE BOND TRUSTEE MUST PROVIDE
CONSENT TO ANY MODIFICATION), THAT WILL BEST PROMOTE THE
GOALS OF THE BIDDING PROCESS AND TO IMPOSE, AT OR PRIOR TO
THE AUCTION, ADDITIONAL OR DIFFERENT CUSTOMARY TERMS AND
CONDITIONS ON THE SALE OF THE ASSETS, INCLUDING, WITHOUT
LIMITATION, MODIFYING THE REQUIREMENTS FOR A QUALIFIED BID,
EXTENDING THE DEADLINES SET FORTH IN THESE BIDDING
PROCEDURES, ADJOURNING THE AUCTION AT OR PRIOR TO THE
AUCTION AND/OR ADJOURNING THE SALE HEARING PRIOR TO SUCH
HEARING OR IN OPEN COURT WITHOUT FURTHER NOTICE, AND
REJECTING ANY OR ALL QUALIFIED BIDS IF, IN THE DEBTOR’S
REASONABLE, GOOD-FAITH BUSINESS JUDGMENT DETERMINED THAT
SUCH QUALIFIED BID IS (I) INADEQUATE OR INSUFFICIENT, (II) NOT IN
CONFORMITY WITH THE REQUIREMENTS OF THE BANKRUPTCY CODE

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OR ANY RELATED RULES OR THE TERMS SET FORTH HEREIN, OR (III)
CONTRARY TO THE BEST INTERESTS OF THE DEBTOR. THE DEBTOR
RESERVES THE RIGHT, AT ANY TIME, FOR ANY REASON AND IN ITS
REASONABLE, GOOD-FAITH BUSINESS JUDGMENT IN CONSULTATION
WITH THE CONSULTATION PARTIES, TO DECLINE TO PURSUE THE
SALE AND TO WITHDRAW ANY MOTION FILED IN THE COURT SEEKING
TO APPROVE THE SALE.
 Dated: December __, 2020                          DYKEMA GOSSETT PLLC

                                                   By: DRAFT
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 203-0700 / Fax (248) 203-0763
                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                      and

                                                      Patrick L. Huffstickler
                                                      Texas Bar No. 10199250
                                                      Danielle N. Rushing
                                                      Texas Bar No. 24086961
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                                                      PHuffstickler@dykema.com
                                                      DRushing@dykema.com

                                                      COUNSEL FOR DEBTOR AND
                                                      DEBTOR-IN-POSSESSION




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                                            EXHIBIT 2




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In re:                                                Chapter 11

HENRY FORD VILLAGE, INC.,                             Case No. 20-51066-MAR

                  Debtor.                             Hon. Mark A. Randon
                                               /

            NOTICE AND OPPORTUNITY TO OBJECT REGARDING
                  ENTRY OF SALE PROCEDURES ORDER

      On December 2, 2020, Henry Ford Village, Inc. (the “Debtor”) filed the
Debtor’s Motion for Entry of (I) An Order (A) Approving Bidding Procedures and
Protections in Connection With the Sale of Substantially All of the Debtor’s Assets,
(B) Approving the Form and Manner of Notice Thereof, (C) Scheduling an Auction
and Sale Hearing, (D) Approving Procedures for the Assumption and Assignment of
Contracts, and (E) Granting Related Relief; and (II) An Order (A) Approving the
Asset Purchase Agreement Between the Debtor and the Successful Bidder, (B)
Authorizing the Sale of Substantially All of the Debtor’s Assets Free and Clear of
Liens, Claims, Encumbrances, and Interests, (C) Authorizing the Assumption and
Assignment of Contracts, and (D) Granting Related Relief (the “Sale Procedures
Motion”).

         By the Sale Procedures Motion, the Debtor seeks entry of two separate orders:

         (I)      an order (a) approving certain bid procedures related to the proposed
                  sale of substantially all of its assets, (b) scheduling an auction if the
                  Debtor receives two or more qualified bids, (c) scheduling a hearing to
                  consider approval of the proposed sale, (d) approving the form and
                  manner of notice thereof, and (e) establishing procedures for the
                  assumption and assignment of executory contracts and unexpired
                  leases, including notice of proposed cure amounts (the “Sale
                  Procedures Order”); and

         (II)     an order (a) approving the sale of substantially all of the Debtor’s assets,
                  (b) authorizing the assumption and assignment of certain executory
                  contracts and unexpired leases, and (c) granting related relief (the “Sale
                  Order”).

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      A copy of the Sale Procedures Motion can be obtained, free of charge, by: (i)
accessing the Debtor’s case information website, www.kccllc.net/HFV, and clicking
on the “Sale Documents” tab on the left side of such website, or (ii) requesting a
copy from Debtor’s counsel, Dykema Gossett PLLC, at:

                                       Dykema Gossett PLLC
                                     Attn: Danielle N. Rushing
                                  112 East Pecan Street, Suite 1800
                                     San Antonio, Texas 78205
                                       Phone: (210) 554-5500
                                  Email: DRushing@dykema.com

      For general inquiries, you may call the Debtor’s claims and noticing agent at
(866) 476-0898 (U.S./Canada) or (781) 575-2114 (International).

      Your rights may be affected. You should read the Sale Procedures
Motion carefully and discuss it with your attorney, if you have one in these
bankruptcy cases. (If you do not have an attorney, you may wish to consult
one.)

      If you do not want the Court to enter the Sale Procedures Order, or if you want
the Court to consider your views on the Sale Procedures Order, then on or before
December 16, 2020, you or your attorney must:
                                                            1
         1.        File with the Court a written response explaining your position at:

                                  United States Bankruptcy Court
                                   Eastern District of Michigan
                                  211 W. Fort Street, Suite 2100
                                        Detroit, MI 48226

If you mail your response to the court for filing, you must mail it early enough so
that the court will receive it on or before the date stated above. All attorneys are
required to file pleadings electronically.

1
 Your response or answer must comply with Rules 8(b), (c) and (e) of the Federal
Rules of Bankruptcy Procedure.



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         2.        You must also send a copy to:

                                           Sheryl L. Toby
                                  39577 Woodward Avenue, Suite 300
                                   Bloomfield Hills, Michigan 48304
                                        SToby@dykema.com

      If a response is timely filed and served, a hearing on the entry of the Sale
Procedures Order will be held on December 18, 2020 at 10:00 a.m. (Eastern).

      If you or your attorney do not take these steps, the Court may decide that
you do not oppose the entry of the Sale Procedures Order and may enter the
Sale Procedures Order.

      This notice relates to the entry of the Sale Procedures Order only. A separate
objection deadline and hearing date will be set with respect to the entry of the Sale
Order. Separate notice will be provided with respect to such deadline and hearing
date.




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 Dated: December 2, 2020                            Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

                                                   By: /s/ Sheryl L. Toby
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
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                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                      and

                                                      Patrick L. Huffstickler
                                                      Texas Bar No. 10199250
                                                      Danielle N. Rushing
                                                      Texas Bar No. 24086961
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                                                      DRushing@dykema.com

                                                      COUNSEL FOR DEBTOR
                                                      AND DEBTOR-IN-POSSESSION




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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-mar

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 2nd day of December, 2020, a

true and correct copy of the foregoing document was served via CM/ECF on all

parties registered to receive notice and via email and/or first-class U.S. mail on the

Chapter 11 Case’s Special Service List.




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 Dated: December 2, 2020                           DYKEMA GOSSETT PLLC

                                                   By: /s/ Sheryl L. Toby
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 203-0700 / Fax (248) 203-0763
                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                      and

                                                      Patrick L. Huffstickler
                                                      Texas Bar No. 10199250
                                                      Danielle N. Rushing
                                                      Texas Bar No. 24086961
                                                      112 East Pecan Street, Suite 1800
                                                      San Antonio, Texas 78205
                                                      (210) 554-5500 / Fax (210) 226-8395
                                                      PHuffstickler@dykema.com
                                                      DRushing@dykema.com

                                                     COUNSEL FOR DEBTOR AND
                                                     DEBTOR-IN-POSSESSION




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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________/

          NOTICE OF BID PROCEDURES, AUCTION, HEARING, AND
         DEADLINES RELATING TO THE SALE OF SUBSTANTIALLY
                  ALL OF THE ASSETS OF THE DEBTOR
      PLEASE TAKE NOTICE that on December [__], 2020, Henry Ford
Village, Inc., as debtor and debtor-in-possession (the “Debtor”) in the above-
captioned chapter 11 case (the “Bankruptcy Case”), filed Debtor’s Motion for
Entry of (I) an Order (A) Approving Bid Procedures and Protections in Connection
with the Sale of Substantially All of the Debtor’s Assets, (B) Approving the Form
and Manner of Notice thereof, (C) Scheduling an Auction and Sale Hearing,
(D) Approving Procedures for the Assumption and Assignment of Contracts, and
(E) Granting Related Relief; and (II) an Order (A) Approving the Asset Purchase
Agreement Between the Debtor and the Successful Bidder, (B) Authorizing the Sale
of Substantially All of the Debtor’s Assets Free and Clear of Liens, Claims,
Encumbrances, and Interests, (C) Authorizing the Assumption and Assignment of
Contracts, and (D) Granting Related Relief [ECF No. __] (the “Bid Procedures and
Sale Motion”).1 The Debtor seeks to complete a sale (the “Transaction”) of
substantially all its assets (the “Assets”) to a prevailing bidder or bidders (the
“Successful Bidder”) at an auction (the “Auction”) free and clear of all liens,
claims, encumbrances, and other interests pursuant to Bankruptcy Code section 363.

     PLEASE TAKE FURTHER NOTICE that, on [_________], the
Bankruptcy Court entered an order [ECF No.__] (the “Bid Procedures
Order”) approving the bidding procedures set forth in the Bid Procedures and Sale
Motion (the “Bid Procedures”), which set the key dates and times related to the sale

1
  Capitalized terms used but not otherwise defined herein shall have the meanings
set forth in the Bid Procedures and Sale Motion.


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of the Debtor’s Assets under the asset purchase agreement with the Successful
Bidder. All interested bidders should carefully read the Bid Procedures. To the
extent that there are any inconsistencies between the Bid Procedures and the
summary description of its terms and conditions contained in this notice, the terms
of the Bid Procedures shall control.
       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures,
the Debtor must receive a Qualified Bid from interested bidders in writing, on or
before April 30, 2021, or such later date as may be agreed to by the Debtor (the “Bid
Deadline”). Each Bid must be sent by the Bid Deadline to each of the following by
email: (a) counsel for the Debtor, Dykema Gossett PLLC, Sheryl Toby,
stoby@dykema.com and Danielle Rushing, drushing@dykema.com; (b) RBC,
David Fields, david.fields@rbccm.com; (c) counsel for the Bond Trustee: Mintz
Levin, Daniel Bleck, dsbleck@mintz.com and Eric Blythe, ERBlythe@mintz.com;
and (d) counsel for the Committee:             Perkins Coie LLP, Eric Walker,
EWalker@perkinscoie.com. and Kathleen Allare, KAllare@perkinscoie.com
(collectively, the “Notice Parties”).
      PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid
Procedures, if the Debtor receives one or more Qualified Bids by the Bid Deadline,
the Auction will be conducted virtually on May 4, 2021, or at such other place, date,
and time as may be designated by the Debtor.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid
Procedures, the Debtor will file with the Bankruptcy Court and serve a notice to the
Debtor’s contract counterparties other than residents (as of the Debtor’s Petition
Date) party to a Resident Agreement (each, a “Non-Resident Contract
Counterparty”), setting forth the Debtor’s calculation of each Non-Resident
Contract Counterparty’s cure amount, if any, that would be owing to such Non-
Resident Contract Counterparty if the Debtor decided to assume or assume and
assign such executory contract or unexpired lease, and alerting such Non-Resident
Contract Counterparty that its agreement may be assumed and assigned to the
Successful Bidder (the “Cure and Possible Assumption and Assignment
Notice”).2 Any Non-Resident Contract Counterparty that objects to the cure amount
set forth in the Cure and Possible Assumption and Assignment Notice or has any
other objection to the possible assignment of its agreement, must file an objection (a

2
  For the avoidance of doubt, “Non-Resident Contract Counterparty” shall not
include any resident, former resident, or other party asserting claims arising under
the Resident Agreements.


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“Cure Objection”) within 14 days of such notice, which Cure Objection must be
served on the Notice Parties.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid
Procedures, if a Non-Resident Contract Counterparty does not timely file and serve
a Cure Objection, that party will be forever barred from objecting to (a) the Debtor’s
proposed cure amount. Where a Non-Resident Contract Counterparty files a timely
Cure Objection asserting a higher cure amount than the amount listed in the Cure
and Possible Assumption and Assignment Notice, or an objection to the possible
assignment of that Non-Resident Contract Counterparty’s agreement, and the Non-
Resident Contract Counterparty and the Debtor are unable to consensually resolve
the dispute, the amount to be paid under Bankruptcy Code section 365 (if any) or, as
the case may be, the Debtor’s ability to assign the agreement to the Successful
Bidder, will be determined at the Sale Hearing.
       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid
Procedures, the Debtor shall file with the Bankruptcy Court and serve on the Non-
Resident Contract Counterparties a further notice (the “Assumption Notice”)
identifying the Successful Bidder, stating which Contracts will be assumed and
assigned to the Successful Bidder, and providing such Non-Resident Contract
Counterparties with the Successful Bidder’s assurance of future performance. Any
Non-Resident Contract Counterparty that objects to the adequacy of the assurance
or assumption and/or assignment of its Contract set forth in the Assumption Notice
must file an objection with the Bankruptcy Court (a “Contract Objection”) and
serve the Contract Objection on the Notice Parties to the Sale Hearing. If a Non-
Resident Contract Counterparty does not file a Contract Objection prior to the Sale
Hearing, such party will be forever barred from objecting to the adequacy of the
assurance to be provided by the Successful Bidder. Where a Non-Resident Contract
Counterparty files a Contract Objection prior to the Sale Hearing, and the parties are
unable to consensually resolve the dispute, the adequacy of the assurance provided
by the Successful Bidder will be determined at the Sale Hearing.

      PLEASE TAKE FURTHER NOTICE that a hearing will be held to approve
the sale of the Assets to the Successful Bidder (the “Sale Hearing”) before the
Honorable Mark A. Randon in the U.S. Bankruptcy Court for the Eastern District of
Michigan, or any judge sitting in his stead, on May 24, 2021 at 10 a.m. (prevailing
Eastern time), or at such time thereafter as counsel may be heard or at such other
time as the Bankruptcy Court may determine. The Sale Hearing may be adjourned
from time to time without further notice to creditors or parties in interest other than
by announcement of the adjournment in open court on the date scheduled for the


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Sale Hearing or on the agenda for such Sale Hearing. Objections to the sale of the
Assets to the Successful Bidder must be filed and served on the Notice Parties and
the Office of the United States Trustee for the Eastern District of Michigan, Attn:
Leslie Berg, Leslie.K.Berg@usdoj.gov so that they are received no later than
May 21, 2021 at 4:00 p.m. (prevailing Eastern time).
       PLEASE TAKE FURTHER NOTICE that the Debtor is seeking to waive
the fourteen-day stay period under Bankruptcy Rules 6004(h) and 6006(d) in order
for the Sale to close immediately upon entry of the Sale Order by this Court.
       PLEASE TAKE FURTHER NOTICE that this notice is subject to the full
terms and conditions of the Bid Procedures and Sale Motion, the Bid Procedures,
and the Bid Procedures Order, which shall control in the event of any conflict, and
the Debtor encourages parties in interest to review such documents in their entirety.
A copy of the Bid Procedures and Sale Motion, the Bid Procedures, and the Bid
Procedures Order may be obtained by visiting the website maintained in the
Bankruptcy Case at http://www.kccllc.net/HFV or for a fee via PACER by visiting
https://www.pacer.gov/.




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 Dated: December __, 2020                           Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

                                                   By: DRAFT
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 203-0700 / Fax (248) 203-0763
                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                      and

                                                      Patrick L. Huffstickler
                                                      Texas Bar No. 10199250
                                                      Danielle N. Rushing
                                                      Texas Bar No. 24086961
                                                      112 East Pecan Street, Suite 1800
                                                      San Antonio, Texas 78205
                                                      (210) 554-5500 / Fax (210) 226-8395
                                                      PHuffstickler@dykema.com
                                                      DRushing@dykema.com

                                                      COUNSEL FOR DEBTOR AND
                                                      DEBTOR-IN-POSSESSION




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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________/

      NOTICE TO COUNTERPARTIES TO POTENTIALLY ASSUMED
    EXECUTORY CONTRACTS AND UNEXPIRED LEASES REGARDING
     CURE AMOUNTS AND POSSIBLE ASSIGNMENT TO SUCCESSFUL
                     BIDDER AT AUCTION

      PLEASE TAKE NOTICE that on December [__], 2020, Henry Ford
Village, Inc., the above-captioned debtor and debtor-in-possession (the
“Debtor”), filed a motion (the “Bid Procedures and Sale Motion”) with the United
States Bankruptcy Court for the Eastern District of Michigan (the “Bankruptcy
Court”).

       PLEASE TAKE FURTHER NOTICE that on [_________], the
Bankruptcy Court entered an order [ECF No. __] (the “Bid Procedures
Order”) approving Bid Procedures (the “Bid Procedures”), which set key dates,
times, and procedures related to the sale of substantially of the Debtor’s assets (the
“Assets”). To the extent that there are any inconsistencies between the Bid
Procedures and the summary description of the terms and conditions contained in
this Notice, the terms of the Bid Procedures shall control.

    YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF
YOUR AFFILIATES IS A COUNTERPARTY TO AN EXECUTORY
CONTRACT OR UNEXPIRED LEASE LISTED BELOW WITH THE
DEBTOR:1

1
  This Notice is being sent to counterparties to Executory Contracts and Unexpired
Leases and does not include any resident, former resident, or other party asserting
claims arising under the Resident Agreements. This Notice is not an admission by
the Debtor that such contract or lease is executory or unexpired.


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     [Counterparty Name]                 [Contract/Lease]              Cure Amount



      Pursuant to the Bid Procedures, the Debtor may assume the Executory
Contract(s) or Unexpired Lease(s) listed above to which you are a
counterparty. Also pursuant to the Bid Procedures, the Debtor may assign the
Executory Contract(s) or Unexpired Lease(s) to the successful bidder (the
“Successful Bidder”) at an auction of substantially all of the Debtor’s assets
currently scheduled for May 4, 2021. The Debtor has conducted a review of its
books and records and has determined that the cure amount for unpaid monetary
obligations under such contract or lease is $[AMOUNT] (the “Cure Amount”). If
you (a) object to the proposed assumption or disagree with the proposed Cure
Amount, or (b) object to the possible assignment of such Executory Contract(s) or
Unexpired Lease(s) to the Successful Bidder, you must file an objection with the
Bankruptcy Court no later than fourteen (14) days from the date of service of
this Notice (the “Objection Deadline”) and serve such objection via email on the
following parties:

        Counsel to the Debtor                          Counsel to Bond Trustee

        Dykema Gossett PLLC                    Mintz, Levin, Cohn, Ferris, Glovsky and
         Attn: Sheryl L. Toby                                Popeo, P.C.
         stoby@dykema.com                                Attn: Daniel Bleck
           Danielle Rushing                             DSBleck@mintz.com
        drushing@dykema.com                                  Eric Blythe
                                                       ERBlythe@mintz.com


     Counsel to the Committee                            United States Trustee

          Perkins Coie LLP                    Office of the United States Trustee for the
          Attn: Eric Walker                          Eastern District of Michigan
      ewalker@perkinscoie.com                            Attn: Leslie K. Berg
           Kathleen Allare                            Leslie.K.Berg@usdoj.gov
      kallare@perkinscoie.com

      If no objection to the Cure Amount or the assumption and/or assignment of
your Executory Contract(s) or Unexpired Lease(s) to the Successful Bidder is filed
by the Objection Deadline, you will be deemed to have stipulated that the Cure
Amount as determined by the Debtor and set forth above is correct and you

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shall be forever barred, estopped, and enjoined from (a) asserting any
additional cure amount under the above-listed Executory Contract(s) and
Unexpired Lease(s) or (b) objecting to the assumption and/or assignment of the
above-listed Executory Contract(s) and Unexpired Lease(s) to the Successful
Bidder.


 Dated: December __, 2020                           Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

                                                   By: DRAFT
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 203-0700 / Fax (248) 203-0763
                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                      and

                                                      Patrick L. Huffstickler
                                                      Texas Bar No. 10199250
                                                      Danielle N. Rushing
                                                      Texas Bar No. 24086961
                                                      112 East Pecan Street, Suite 1800
                                                      San Antonio, Texas 78205
                                                      (210) 554-5500 / Fax (210) 226-8395
                                                      PHuffstickler@dykema.com
                                                      DRushing@dykema.com

                                                      COUNSEL FOR DEBTOR
                                                      AND DEBTOR-IN-POSSESSION




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                           UNITED STATES BANKRUPTCY COURT

                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

IN RE:                                                Case No. 20-51066-MAR

HENRY FORD VILLAGE, INC.,                             Chapter 11

     Debtor.                                          Honorable Mark A. Randon
________________________________/

                  NOTICE OF PROPOSED ASSIGNMENT
           OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
       PLEASE TAKE NOTICE that on October 28, 2020 (the “Petition Date”),
the above-captioned debtor and debtor in possession (the “Debtor”) filed a petition
for relief pursuant to chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District
of Michigan (the “Bankruptcy Court”). On December [__], 2020, the Debtor filed
a motion (the “Sale Motion”) [ECF No. __] to sell substantially all of its assets (the
“Assets”) free and clear of all liens, claims, encumbrances, and other interests (the
“Sale”) and assume and assign certain of its executory contracts and unexpired
leases (collectively, the “Contracts”) to the purchaser of the Assets.1

      PLEASE TAKE FURTHER NOTICE that the Debtor is soliciting offers
for the purchase of its Assets consistent with the bidding procedures (the “Bid
Procedures”) approved by the Court by the entry of an order on [___________] (the
“Bid Procedures Order”) [ECF No. __]. The Bid Procedures include, among other
things, procedures for the assumption and assignment of the Contracts (the
“Assumption Procedures”).

       PLEASE TAKE FURTHER NOTICE that, accordingly, pursuant to the Bid
Procedures Order, the Debtor has selected [●] as the Successful Bidder for the Sale
of its Assets and, by this written notice, the Debtor notifies you that the Successful
Bidder has determined, in the exercise of its business judgment, that the Contracts
1
  Capitalized terms used but not defined herein shall have all the meanings ascribed
to them in the Sale Motion, Bid Procedures, and/or Bid Procedures Order, as
applicable.


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and any modifications thereto set forth on Schedule 1 attached hereto (collectively,
the “Assigned Contracts”) shall be assumed and assigned to the Successful Bidder,
subject to the Successful Bidder’s payment of the cure amount set forth on Schedule
1, or such other cure amounts as are agreed by the parties.

      PLEASE TAKE FURTHER NOTICE that the Successful Bidder has the
right under certain circumstances to designate additional Contracts as Assigned
Contracts or remove certain Contracts from the list of Assigned Contracts prior to
closing.
      PLEASE TAKE FURTHER NOTICE that copies of the Sale Motion, the
Bid Procedures, and the Bid Procedures Order, as well as all related exhibits,
including the proposed Sale Order, are available by visiting the website maintained
by the Debtor’s claims and noticing agent at http://www.kccllc.net/HFV or for a fee
via PACER by visiting https://www.pacer.gov/.
       PLEASE TAKE FURTHER NOTICE that, except as otherwise provided
by the Bid Procedures Order, the time for filing objections to (a) the cure amounts
related to the Assigned Contracts and (b) the Debtor’s ability to assume and assign
the Assigned Contracts has passed and no further notice or action is necessary with
respect to such matters.

      PLEASE TAKE FURTHER NOTICE that any Non-Resident Contract
Counterparty that objects to the adequacy of the Successful Bidder’s assurance of
continued performance set forth in Schedule 1 hereto must file an objection with the
Bankruptcy Court prior to the Sale Hearing.




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 Dated: December __, 2020                           Respectfully submitted,

                                                    DYKEMA GOSSETT PLLC

                                                   By: DRAFT
                                                      Sheryl L. Toby (P39114)
                                                      Jong-Ju Chang (P70584)
                                                      39577 Woodward Avenue, Suite 300
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 203-0700 / Fax (248) 203-0763
                                                      SToby@dykema.com
                                                      JChang@dykema.com

                                                       and

                                                       Patrick L. Huffstickler
                                                       Texas Bar No. 10199250
                                                       Danielle N. Rushing
                                                       Texas Bar No. 24086961
                                                       112 East Pecan Street, Suite 1800
                                                       San Antonio, Texas 78205
                                                       (210) 554-5500 / Fax (210) 226-8395
                                                       PHuffstickler@dykema.com
                                                       DRushing@dykema.com

                                                       COUNSEL FOR DEBTOR AND
                                                       DEBTOR-IN-POSSESSION




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                                  Schedule 1 to Assumption Notice

                                       Assigned Contracts2

    Counterparty             Description of Assigned Contracts or Leases           Cure
                                                                                  Amount




2
  The presence of a contract or lease on this Schedule 1 does not constitute and
admission by the Debtor that such contract is an executory contract or such lease in
an unexpired lease pursuant to Bankruptcy Code section 365 or any other applicable
law, and the Debtor reserves all rights to withdraw any proposed assumption and
assignment or to reject any contract or lease at any time before such contract or lease
is assumed and assigned pursuant to an order of the Court.


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